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OKLAHOMA FIREFIGHTERS PENSION AND .
RETIREMENT SYSTEM, individually and on behalf of : 16 Civ. 8260 (PAE)

all others similarly situated,
QP_W

Plaintiff,
...V_

XEROX CORPORATION, URSULA M. BURNS, .
LUCA MAESTRI, KATHRYN A. MIKELLS, LYNN R. :
BLODGETT, ROBERT K. ZAPFEL, DAVID H.
BYWATER, and MARY SCANLON,

Def`endants.

 

PAUL A. ENGELMAYER, District Judge:

The lead plaintiff in this putative class action claims that Xerox Corporation (“Xerox”)
violated federal securities laws by dissembling about the challenges it faced as it struggled to
make profitable a new business venture. Xerox had purchased Affiliated Computer Services,
Inc. (“ACS”) in 2010, and then sought to develop ACS’s Medicaid Management Information
System, known as Health Enterprise, into a platform Xerox could profitably market to state
governments The putative plaintiff class consists of purchasers of Xerox’s common stock
between April 23, 2012 through October 27, 2015 (the “Class Period”). Lead plaintiff the
Arkansas Public Employees Retirement System (“APERS”) alleges that Xerox falsely claimed
that it had a replicable, “plug-and-play” “platform” that could be readily reused by Xerox’s state
clients; that implementation of the Health Enterprise system was “going well”; and that
implementation of Health Enterprise was profitable. APERS alleges that Xerox’s share price

was artificially inflated for more than three-and-a-half years by these alleged falsehoods and that,

when Xerox eventually revealed, over several disclosures, that implementation of Health
Enterprise was going badly, Xerox’s share price dropped from a high of $14.32 to $9.29 on the
last day of the Class Period. APERS sues XeroX as well as corporate officers Ursula M. Burns,
Luca Maestri, Kathryn A. Mikells, Lynn R. Blodgett, Robert Zapfel, David H. Bywater, and
Mary Scanlon (the “individual defendants,” and, with Xerox, the “defendants”).

Xerox and all individual defendants except Zapfel have filed a joint motion to dismiss
under Federal Rule of Civil Procedure l2(b)(6). Zapfel has separately moved to dismiss under
Rule l2(b)(6).

For the reasons that follow, the Court grants both motions to dismiss.

I. Backgroundl
A. The Parties

1. The Lead Plaintiff

APERS is a public pension fund providing retirement benefits for certain public

employees of the state of Arkansas. Am. Compl. 11 32. As of June 2016, APERS managed assets

 

1 These facts are drawn primarily from the Amended Complaint (“Am. Compl.”) F or the
purpose of resolving the motion to dismiss, the Court assumes all well-pled facts to be true and
draws all reasonable inferences in favor of plaintiffs. See Koch v. Christie ’s Int’l PLC, 699 F.3d
l4l, 145 (2d Cir. 2012). The Court also considered the documents attached to the declaration of
Stef`an Atkinson, Dkt. 67 (“Atkinson Decl.”). Because these documents were incorporated into
the Amended Complaint by reference, or are matters of public record, they are properly
considered on a motion to dismiss See Cin of Pontiac Polz'cemen ’s & Firemen ’s Ret. Sys. v.
UBS AG, 752 F.3d 173, 179 (2d Cir. 2014) (in resolving a motion to dismiss, the court may
consider, inter alia, “any statements or documents incorporated in it by reference, as well as
public disclosure documents required by law to be, and that have been, filed with the SEC, and
documents that the plaintiffs either possessed or knew about and upon which they relied in
bringing the suit”) (citation omitted). The Court considered these documents “not for the truth of
the matters asserted therein,” but only “for the fact that the statements were made.” Clark v. Kitt,
No. 12 Civ. 8061(CS), 2014 WL 4054284, at *7 (S.D.N.Y. Aug. 15, 2014); see also, e.g., Staehr
v. Hartford Fin. Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir. 2008) (“[I]t is proper to take
judicial notice of the fact that press coverage, prior lawsuits, or regulatory filings contained
certain information, without regard to the truth of their contents.”) (emphasis omitted).

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exceeding $7.3 billion on behalf of approximately 93,000 members. Id. APERS purchased
Xerox common stock during the Class Period. Id.

2. The Defendants

Xerox is a New York corporation With its principal place of business in Norwalk,
Connecticut. Its common stock is listed on the NYSE. Ia'. 11 33. Xerox provides document
management solutions_including its eponymous copying machines_as well as business
process outsourcing services. Id.

Ursula M. Burns became Xerox’s Chairman of the Board and CEO on July 1, 2009, and
remained CEO throughout the Class Period. Id. 11 34.

Luca Maestri was Xerox’s Chief Financial Officer between February 16, 2011 and
February 28, 2013. Id. 11 35. Maestri was succeeded by Kathryn A. Mikkels, who served as
CFO and Executive Vice President between May 2, 2013 and the end of the Class Period. Ia'.

‘|1 36.

Lynn R. Blodgett was ACS’s President and CEO until Xerox acquired ACS in 2010. Id.
11 37. He then served as President of Xerox’s Business Services division between February 2010
and April 1, 2014. Id.

Robert Zapfel succeeded Blodgett as President of Business Services on April 1, 2014,
and served in that role through the end of the Class Period. Ia'. 11 38.

David H. Bywater was Xerox’s Chief Operating Officer of State Government between
February 2010 and July 2013 and Corporate Vice President between February 2012 and July
2013. Ia'.11 39.

Mary Scanlon served as Xerox’s Senior Vice President of National Sales and Business

Development for Government Health Care Solutions between August 2009 and October 2014.

Id. 11 40.

B. Xerox Buys ACS

In February 2010, Xerox acquired ACS for $6.4 billion. Id. 1111 3, 59. ACS specialized
in business-process outsourcing. This entailed providing for clients various back-office services,
including call centers, claims processing, and information technology. Ia'. 11 4.

Chief among ACS’s customers were government clients, from which ACS generated
approximately 40 percent of its revenue. Id. 1111 4, 6, 62. ACS provided a range of services to
such clients, including~relevant here_developing, designing, and implementing Medicaid
Management Information Systems (“MMIS”). Ia'. 1[ 6. As described by APERS, an MMIS is a
computer system that manages the processing of payments to healthcare providers, the storing of
beneficiary information, and all other aspects of a state’s Medicaid program. Id. 11 7. States are
required by law to have such a system, id. 11 62; these allow states to process payments to
healthcare providers participating in the state Medicaid program, id. 11 67. The federal
government provides 90 percent of the financing for the design and development of a state’s
MMIS and 75 percent of the financing for its operation. Ia'.

ACS offered to state governments a proprietary software product_known as Health
Enterprise_that served as a replacement for states’ existing MMISS. Ia'. 1111 8, 69. Health
Enterprise was intended to perform four key functions for state governments: (1) benefit plan
administration, (2) financial management, (3) information storage and retrieval, and (4)
reporting. Ia’. 11 9.

The acquisition of ACS helped transform Xerox_historically a manufacturer and
distributor of photocopiers and other hardware-into a service business. Id. 11 53. Of Xerox’s
two primary business segments_Document Technology, home to the company’s hardware

business, and Services_the service segment became, after the acquisition of ACS, the largest

segment in the company, accounting for between 52 and 56 percent of total revenue per year
during the Class Period. Id. Within the Services segment, Xerox offered three distinct services:
(1) business process outsourcing, (2) information technology outsourcing, and (3) document
outsourcing. Id. 11 54. Business process outsourcing_which represented a significant majority
of the total Services revenue_included Xerox’s “Govemment Healthcare Solutions” offering.
Id. 11 56.

C. Implementation Issues in Six States

At the time of Xerox’s acquisition of ACS, ACS had contracted to provide its Health
Enterprise software to New Hampshire, North Dakota, and Alaska. Id. 1111 9, 70. Pursuant to its
acquisition of ACS, Xerox took control of these contracts. Id. 11 65. Plaintiffs allege that ACS,
and from 2012 forward Xerox, experienced delays and cost overruns as they performed these
contracts.

ln late 2005, ACS contracted with New Hampshire to provide the state a new MMIS
system. Id. 11 73. ACS initially projected that the MMIS would be implemented by 2008; the
system was completed (after Xerox had acquired ACS) in Apri12013. Ia'. 11 75. ACS had
proposed that implementation of the New Hampshire MMIS would cost $60 million; the actual
cost exceeded $117 million. Ia’. 11 76.

Also in late 2005, ACS contracted with North Dakota to implement the state’s MMIS.
Ia'. 11 77. The North Dakota MMIS was scheduled to be completed by July 2009. Id. 1[ 78.
ACS_and later Xerox-missed that deadline, see id. 1111 79-83; Xerox instead completed the
North Dakota MMIS in October 2015, id. 11 87. This six-year delay was attributable to Xerox’s

efforts to conform the computer code from the New Hampshire MMIS for use in North Dakota.

Ia'. 11 89. The cost of implementing the North Dakota MMIS increased from $37 million, as
projected in June 2006, to $65 million as of its 2015 completion. Id. 11 91.

In October 2007, ACS contracted with Alaska to replace the state’s MMIS. Ia'. 11 93.
Implementation of that MMIS, too, suffered from delays and cost overruns. Implementation was
scheduled to conclude on June 1, 2010. Id. But the MMIS first went “Live” on October 1, 2013.
Ia'. 11 97. Through 2014, Xerox continued to address ongoing defects in the MMIS. Id. 1111 97~
100. The cost of implementation grew from an original estimate of $32 million to a final cost of
approximately $146 million. Ia'. 11 102.

In March 2010-shortly after acquiring ACS in February 2010_Xerox was awarded a
$1.7 billion contract to implement a MMIS for California. Ia'. 11 119. The California MMIS
Independent Proj ect Oversight Consultant (IPOC)_a third-party observer_issued several
reports detailing Xerox’s progress on the proj ect. See ia'. 1111 121_31. These described a series of
delays. See id. As a result, as of May 2015, California had not paid Xerox for its work on the
proj ect. Id. 11 131. In April 2016, California terminated its contract with Xerox. Id. 11 134.
Xerox and California reached a settlement of their claims against each other, under which Xerox
was required to pay the state $123 million. Id. 11 135.

In April 2012, Xerox was awarded a contract to implement a MMIS for Montana. Id.

11 105. That process, too, was marked by delays. The MMIS was originally scheduled to be
implemented by February 2015. Id. But throughout 2013 and 2014, Xerox missed milestones
and Montana refused to make interim milestone payments. ld. 1111 106_112. On July 18, 2014,
Xerox and Montana renegotiated their contract and set a May 2017 completion deadline. Id.

11 113. Through 2015, Xerox continued to miss interim milestone deadlines. Ia'. 1111 114-15.

Xerox did not complete implementation of the Montana MMIS. Ia'. 11 116.

Finally, in April 2015, Xerox was awarded a $564 million contract to implement a MMIS
for New York. Id. 11 138. Xerox never completed the New York MMIS project. Id. 11 140.

D. Xerox Spins Off Business Process Outsourcing

On October 26, 2015, at the conclusion of the Class Period, Xerox announced that it
would review its portfolio of businesses Ia'. 11 286. Following that review, on January 29, 2016,
Xerox announced that it would separate the company into two separate businesses: a business-
process outsourcing company and another company focused on document technology and
document outsourcing. Id. On November 8, 2016, Xerox announced that it would effect this
reorganization by spinning off its business-process outsourcing services into a new company to
be called Conduent Incorporated. Id. 11 287. On January 3, 2017, Xerox announced that it had
completed that spin-off. Ia'. 11 288.

E. Alleged Misstatements

While Xerox was struggling to implement Health Enterprise in the six states in which it
had been awarded MMIS contracts, APERS alleges, Xerox officers made materially false or
misleading statements about the company’s progress APERS groups these statements into three
categories: (1) that Xerox had a platform that was transferrable, reusable, replicable, and
scalable, and possessed plug-and-play characteristics (the “Platform Statements”); (2) that
implementation of Health Enterprise was successful and/or going well (the “Success
Statements”); and (3) that implementation of Health Enterprise had or would become profitable,

and that profitability would be achieved because of the low-cost nature of the Health Enterprise

platform (the “Profitability Statements”). See id. 11 141. The Court summarizes these statements
below.2
1. Platform Statements

First, APERS alleges that Xerox officers made a series of statements during the Class
Period that falsely or misleadineg described Health Enterprise as a “platform.”

Beginning at the start of the Class Period, Xerox officers described the MMIS application
as a “platform” and extolled the benefits the company expected to enjoy from that platform. See,
e.g., Am. Compl. 11 172, Appendix Nos. 3, 4; Am. Compl. 11 143. ln particular, Xerox officers
predicted that the company would be able to “reuse” the MMIS platform, lowering Xerox’s costs
on future contracts See Am. Compl. 1111 145, 175; Appendix No. 7; see also, e.g., Am. Compl.
1111 146, 184 (alteration omitted); Appendix Nos. 13, 14 (“Platforms across the board help us to
have repeatable solutions”). Company officers continued to describe Health Enterprise as a
platform and to attribute Xerox’s competitive advantage to that platform throughout 2013 and
into 2014. See, e.g., Am. Compl. 1111 190, 191, 194; Appendix Nos. 23, 24, 25, 27. Xerox
officers also explained to investors and analysts that, as Xerox implemented Health Enterprise on
future contracts, the company would be able to “modify for every engagement a little bit of the
system but not as big a modification as before,” resulting in efficiencies Am. Compl. 11 206; see
Appendix Nos. 40, 41, 42; see also, e.g., Am. Compl. 11203; Appendix Nos. 35, 36; Am. Compl.

11 212; Appendix No. 44.

 

2 In an appendix to its reply brief, Xerox has indexed 70 statements alleged in the Amended
Complaint, see Def. Reply. Br. App’x, which the Court has reproduced in modified form as an
appendix to this Opinion (the c‘Appendix”). The Court refers to alleged misstatements with
citations to the Amended Complaint and the Court’s Appendix. The Amended Complaint adds
emphasis to many of the statements it alleges are actionable. The Court omits all such added
emphasis The Amended Complaint includes alterations of many quotations The Court has
endeavored to correct such alterations

2. Success Statements

Second, APERS alleges that, during the Class Period, Xerox officers made several false
or misleading statements about the company’s success in implementing Health Enterprise.

Throughout the Class Period, Xerox officers discussed the progress the company was
making in implementing Health Enterprise for its several state clients At times, Xerox officers
spoke generally about the company’s success For example, in describing Xerox’s fourth quarter
2013 results, Bums said that the company was “making progress” on “government healthcare”
and was “stabilizing more and more.” Am. Compl. 11 213; Appendix Nos. 45, 46; see also, e.g.,
Am. Compl. 11 233; Appendix No. 56 (“Within government healthcare, we’re making good
progress, but expense levels are still high as we continue to invest to improve the performance of
the first platform implementation of our new Medicaid platform.”).

Xerox officers also provided updates on the implementation of Health Enterprise in
particular states Beginning in May 2012, Xerox officers described the implementation of Health
Enterprise in California as going “well,” see, e.g. , Am. Compl. 11 181; Appendix No. 10 (“We’re
happy the State of California implementation has gone very well.”), and continued to do so
through 2013 and 2014, see, e.g., Am. Compl. 11 199; Appendix No. 31 (“And as California is
maturing, thank God, and is doing fairly well I’m not going to say very well because very well
always jinxes me.”); Am. Compl. 11 219; Appendix No. 50 (“California is going fairly well, and
MMIS is actually going pretty well and we’re now at the point where we’re starting to lean out
our implementation on California and drive it to increased profitability.”). Xerox officers made
similar statements about Alaska, Am. Compl. 11 202; Appendix No. 32, and New Hampshire, see

Am. Compl. 1111 23 8-39; Appendix No. 60, 61.

3. Prof"ltability Statements

Third and finally, APERS alleges, Xerox officers made several false or misleading
statements about the present-day profitability of Health Enterprise and the company’s
expectations for its future profitability.

During the Class Period, Xerox officers made a series of statements predicting that the
company’s margins on implementation of Health Enterprise would improve over time, leading to
increased profitability for the company as a whole. See, e.g., Am. Compl. 11 162; Appendix No.
1; Am. Compl. 11 171; Appendix No. 2 (“[W]e’re shifting a lot of our work to platforms, our new
MMIS platform that was a significant investment is the kind of thing that will help drive higher
margins.”). The company also represented that implementation of Health Enterprise would
entail high up-front costs, followed by a period of lower costs and increased profitability. See,
e.g., Am. Compl. 11 174; Appendix No. 5 (“[A] lot of the start-up cost, the ramp being of -the
investment in platforms that we made on some of the services business have already taken place
and now we’re getting to a much more normalized level of margins on a lot of these new
contracts.”); see also, e.g., Am. Compl. 11 181; Appendix Nos. 10-11; Am. Compl. 11 205;
Appendix No. 39.

During the Class Period, Xerox officers also represented that the profitability of the
company’s Health Enterprise contracts was currently improving. F or example, on an April 23,
2013, conference call with analysts and investors to discuss the company’s financial results from
the first quarter of 2013, Bums said:

State government we are seeing some good news particularly in healthcare. We

have a strong position as you know in MMIS around the United States, and

California is our big contract; New Hampshire just went live. We’re doing well

there . . . . So healthcare is a big segment for us We do well there. And our

profitability is improving in that segment actually very, very well. So I’m bullish
about healthcare[,] government healthcare services

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Am. Compl. 11 198; Appendix Nos. 28, 29. Later, in 2014, Bums added that Xerox had achieved
“flat profitability” on its California contract and expected, going forward, “growing profitability
in a very predictable kind of a standard way.” Am. Compl. 11 227; Appendix Nos. 52, 53.

F. Disclosures

APERS alleges that the series of statements summarized above caused the common stock
of Xerox to be artificially inflated during the Class Period. Ia’. 11 255. And when Xerox made
public disclosures of new information about Health Enterprise on October 22, 2014, April 24,
2015 , October 26, 2015, and October 27, 2015_disclosures APERS describes as each partially
correcting the company’s earlier misstatements_Xerox’s stock price dropped. Ia’. 11 256.

On October 22, 2014, Xerox filed a Form 8-K, reporting the company’s results for the
third quarter of 2014. Id. 11 257. In the 8-K, and in the ensuing conference call with investors,
Xerox and Burns told the market that the company’s services business_including Health
Enterprise_had been less successful than expected. Id. 1111 257-59.

On April 24, 2015, Xerox filed another Form 8-K, reporting financial results for the first
quarter of 2015, Id. 11 262. Xerox again reported that its services business had performed worse
than expected. Id. In a conference call that same day, Mikells explained that “the driver of the
Services margin miss was lower revenue and more costs than anticipated with our Health
Enterprise platform implementation California had the largest impact on our results in the
quarter.” Ia'. 11 263. On that conference call, Mikells and Zapfel made further statements which,
APERS alleges, revealed that Xerox’s Health Enterprise system had never been a “platform” at
all. See id. 1111 265~70. As a result of these disclosures, APERS claims, Xerox’s share price

dropped from $l3.14 on Apri123, 2015, to $11.62 on April 27, 2015. Ia'. 11 273.

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On October 26, 2015, Xerox filed another Form 8-K. ]d. 11 275. In a conference call that
day, Mikells told analysts and investors that Xerox’s Health Enterprise contracts in Montana and
California were operating at a loss Ia'. 11276. Those disclosures, APERS alleges, led Xerox’s
stock price to drop from $10.34 on October 23, 2015 to $9.29 on October 27, 2015. Id. 11 281.3

G. Procedural History

On October 21, 2016, the Oklahoma Firefighters Pension and Retirement System filed
the original complaint in this case. Dkt. 1. On December 23, 2016, several plaintiffs, including
APERS, moved to be appointed lead plaintiff See Dkts 20_31. On December 28, 2016, the
Court entered a stipulation extending the deadline to respond to the complaint until after a lead
plaintiff had been appointed and a schedule had been set for the filing of an amended complaint
and a motion to dismiss Dkt. 32. On February 28, 2017, the Court appointed APERS as lead
plaintiff, its counsel, Kessler Topaz Meltzer & Check LLP as lead counsel, and Labaton
Sucharow LLP as liaison counsel. Dkt. 38.

On May 1, 2017, APERS filed an amended complaint, the currently operative complaint.
Dkt. 48. On June 30, 2017, Zapfel filed his motion to dismiss, Dkt. 59, a memorandum of law,
Dkt. 60 (“Zapfel Br.”), and a supporting declaration, Dkt. 61. That same day, Xerox and the
other individual defendants filed their motion to dismiss, Dkt. 65, a memorandum of law, Dkt. 66

(“Def. Br.”), and supporting declaration, Dkt. 67.

 

3 The Amended Complaint alleges that an October 27, 2015 disclosure caused Xerox’s share
price to fall, see ia'. 11 256, but it does not allege any disclosures by Xerox or an officer of Xerox
on that date. Rather, it alleges, that day, in response to the company’s disclosures of October 26,
2015 , the agencies Fitch Ratings and Standard & Poor’s Ratings Services downgraded Xerox’s
credit rating and outlook, respectively. Id. 11 280.

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On August 29, 2017, APERS filed its briefs in opposition. Dkts. 68 (“Pl. Br.”); 69 (“Pl.
Op. to Zapfel”). On October 13, 2017, defendants filed their replies Dkts. 70 (“Zapfel Reply
Br.”); 71 (“Def. Reply Br.”).

II. Applicable Legal Standards

A. Standards for Resolving a Motion to Dismiss

To survive a motion to dismiss under Rule l2(b)(6), a complaint must plead “enough
facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.
544, 570 (2007). A claim will only have “facial plausibility when the plaintiff pleads factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A complaint is properly
dismissed where, as a matter of law, “the allegations in a complaint, however true, could not
raise a claim of entitlement to relief.” Twombly, 550 U.S. at 55 8. Although the court must
accept as true all well-pled factual allegations in the complaint and draw all reasonable
inferences in the plaintiffs favor, Steginsky v. Xcelera Inc., 741 F.3d 365 , 368 (2d Cir. 2014),
that tenet “is inapplicable to legal conclusions,” Iqbal, 556 U.S. at 678.

“Securities fraud claims are subject to heightened pleading requirements that the plaintiff
must meet to survive a motion to dismiss” ATSI Commc ’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d
87, 99 (2d Cir. 2007); see also Tellabs, Inc. v. Makor Issues & Rz`ghts, Ltd., 551 U.S. 308, 321-
23 (2007).

First, a complaint alleging securities fraud must meet the requirements of F ederal Rule of
Civil Procedure 9(b). See ECA & Local 134 IBEWJoint Pension Trust of Chi. v. JP Morgan
Chase C0., 553 F.3d 187, 196 (2d Cir. 2009). Rule 9(b) states that “[i]n alleging fraud or

mistake, a party must state with particularity the circumstances constituting fraud or mistake.”

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Fed. R. Civ. P. 9(b). “Allegations that are conclusory or unsupported by factual assertions are
insufficient.” ATSI, 493 F.3d at 99.

Second, such a complaint must comply with the pleading requirements of the Private
Securities Litigation Reform Act (“PSLRA”), 15 U.S.C. § 78u-4(b). See ECA, 553 F.3d at 196.
In particular, where a plaintiffs claims depend upon allegations that the defendant has made an
untrue statement of material fact or that the defendant omitted a material fact necessary to make
a statement not misleading, the plaintif “shall specify each statement alleged to have been
misleading [and] the reason or reasons why the statement is misleading.” 15 U.S.C. § 78u-
4(b)(l). Thus, in order to plead a claim of securities fraud, plaintiffs “must do more than say that
the statements . . . were false and misleading; they must demonstrate with specificity why and
how that is so.” Rombach v. Chang, 355 F.3d 164, 174 (2d Cir. 2004). In addition, the plaintiff
“shall, with respect to each act or omission . . . state with particularity facts giving rise to a
strong inference that the defendant acted with the required state of mind.” 15 U.S.C. § 78u-
4(b)(2).

B. Elements of Plaintiff’s Claims

APERS asserts claims under §§ 10(b) and 20(a) of the Exchange Act, and Rule 10b-5. Am.
Compl. 1111 315-25; id. 1111 326-31.

Section 10(b) of the Exchange Act makes it unlawful to “use or employ, in connection
with the purchase or sale of any security . . . any manipulative or deceptive device or contrivance
in contravention of such rules and regulations as the Commission may prescribe.” 15 U.S.C.

§ 78j (b). The SEC’s implementing rule, Rule 10b-5, provides that it is unlawful “[t]o make any

untrue statement of a material fact or to omit to state a material fact necessary in order to make

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the statements made, in light of the circumstances under which they were made, not misleading.”
17 C.F.R, § 240.10b-5.

To state a claim under § 10(b) of the Exchange Act, a plaintiff must adequately plead “(1)
a material misrepresentation or omission by the defendant; (2) scienter; (3) a connection between
the misrepresentation or omission and the purchase or sale of a security; (4) reliance upon the
misrepresentation or omission; (5) economic loss; and (6) loss causation.” Matrixx Initiatives,
Inc. v. Siracusano, 563 U.S. 27, 37-38 (2011) (internal quotation marks and citation omitted).

To state a claim under § 20(a) of the Exchange Act, “a plaintiff must show (1) a primary
violation by the controlled person, (2) control of the primary violator by the defendant, and (3)
that the defendant was, in some meaningful sense, a culpable participant in the controlled
person’s fraud.” Carpenters Pension T rust F und of St. Louis v. Barclays PLC, 750 F.3d 227,
236 (2d Cir. 2014) (quoting ATSI, 493 F.3d at 108) (internal quotation marks omitted). If a
plaintiff has not adequately alleged a primary violation, i.e. , a viable claim under another
provision of the Exchange Act, then the § 20(a) claims must be dismissed. See ia'.

C. Scienter

As noted, Rule 9(b) and the PSLRA require plaintiffs to “state with particularity facts
giving rise to a strong inference that the defendant acted with the required state of mind.” 15
U.S.C. § 78u-4(b)(2). “For an inference of scienter to be strong, ‘a reasonable person [must]
deem [it] cogent and at least as compelling as any opposing inference one could draw from the
facts alleged.”’ ATSI, 493 F.3d at 99 (quoting Tellabs, 551 U.S. at 324) (alteration and emphasis
in original).

The requisite mental state is one “embracing intent to deceive, manipulate, or defraud.”

Tellabs, 551 U.S. at 319 (internal quotation marks and citation omitted). Plaintiffs “may satisfy

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this requirement by alleging facts (1) showing that the defendants had both motive and
opportunity to commit the fraud or (2) constituting strong circumstantial evidence of conscious
misbehavior or recklessness.” ATSI, 493 F.3d at 99. However, where plaintiffs do not
sufficiently allege-or decline to allege at all-that defendants had a motive to defraud the
public, they “must produce a stronger inference of recklessness.’\’ Kalm`t v. Eichler, 264 F.3d
131, 143 (2d Cir. 2001).

Recklessness is “a state of mind approximating actual intent, and not merely a heightened
form of negligence.” S. Cherry St., LLC v. Hennessee Grp. LLC, 573 F.3d 98, 109 (2d Cir.
2009) (citation and emphasis omitted). To qualify as reckless, defendants’ conduct must have
been “highly unreasonable” and “an extreme departure from the standards of ordinary
care.” Novak v. Kasaks, 216 F.3d 300, 308 (2d Cir. 2000) (quoting Rolfv. Blyth, Eastman Dillon
& Co., 570 F.2d 38, 47 (2d Cir. 1978)) (internal quotation marks omitted). An alleged “refusal
to see the obvious, or to investigate the doubtful,” must be “egregious” to be actionable. Chill v.
Gen. Elec. Co., 101 F.3d 263, 269 (2d Cir. 1996) (citation omitted).

Plaintiffs can establish recklessness by adequately alleging that “defendants knew facts or
had access to non-public information contradicting their public statements” and therefore “knew
or should have known they were misrepresenting material facts.” In re Scholasl‘ic Corp. Sec.
Litig., 252 F.3d 63, 76 (2d Cir. 2001) (citing Novak, 216 F.3d at 308). However, an inference of
scienter does not follow from the mere fact of non-disclosure of relevant information. In re
Sano]i Sec. Litz'g. (“Sanofi 1”), 87 F. Supp. 3d 510, 534 (S.D.N.Y. 2015), a]j"’a' sub nom. Tongue
v. Sanoji (“Sanofi 11 ”), 816 F.3d 199 (2d Cir. 2016). “lnstead, to adequately plead scienter,
plaintiffs must also provide sufficient factual allegations to indicate that defendants understood

that their public statements were inaccurate, or were ‘highly unreasonable’ in failing to

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appreciate that possibility.” la'. (quoting Novak, 216 F.3d at 308). “The key, of course, is the
honest belief of the management in the truth of information issued to the public.” In re
AstraZeneca Sec. Litig., 559 F. Supp. 2d 453, 470 (S.D.N.Y. 2008), ajj”a' sub nom. State Univ.
Ret. Sys. of Ill. v. Astrazeneca PLC, 334 Fed. App’x 404 (2d Cir. 2009) (summary order).

D. Material Misrepresentation

To survive a motion to dismiss, a complaint must adequately plead “that the defendant
made a statement that was ‘misleading as to a material fact.”’ Malrixx Initiatives, 563 U.S. at 38
(quoting Basic Inc. v. Levinson, 485 U.S. 224, 238 (1988)) (emphasis omitted). Significantly,
§ 10(b) and Rule 10b-5 “do not create an affirmative duty to disclose any and all material
information.” Ia'. at 44; see also Basic, 485 U.S. at 239 n.17. “Disclosure of . . . information is
not required . . . simply because it may be relevant or of interest to a reasonable investor.”
Resnik v. Swartz, 303 F.3d 147, 154 (2d Cir. 2002). An omission of information not
affirmatively required to be disclosed is, instead, actionable only when disclosure of such
information is “necessary ‘to make . . . statements made, in the light of the circumstances under
which they were made, not misleading.”’ Matrixx Initiatives, 563 U.S. at 44 (quoting 17 C.F.R.
§ 240.10b-5(b)) (ellipses in original); see also In re Vivena'i, S.A. Sec. Litig., 838 F.3d 223, 239~
40 (2d Cir. 2016) (“‘Pure omissions”’ of information, absent a duty to disclose, are not
actionable, but “‘ [h]alf-truths_statements that are misleading . . . by virtue of what they omit to
disclose,” are).

The materiality requirement “is satisfied when there is ‘a substantial likelihood that the
disclosure of the omitted fact would have been viewed by the reasonable investor as having
significantly altered the total mix of information made available.”’ Marrixx ]nitiatives, 563 U.S.

at 38 (quoting Basic, 485 U.S. at 231~32). As the Supreme Court has explained, a lower

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standard_such as defining a “material fact” as any “fact which a reasonable shareholder might
consider important”_would lead corporations to “bury the shareholders in an avalanche of
trivial information[,] a result that is hardly conducive to informed decisionmaking.” TSC Indus.,
Inc. v. Northway, Inc., 426 U.S. 43 8, 448-49 (1976). The “materiality hurdle” is, therefore, “a
meaningful pleading obstacle.” In re ProShares Trust Sec. Litig., 728 F.3d 96, 102 (2d Cir.
2013). However, because of the fact-intensive nature of the materiality inquiry, the Court may
not dismiss a complaint “on the ground that the alleged misstatements or omissions are not
material unless they are so obviously unimportant to a reasonable investor that reasonable minds
could not differ on the question of their importance.” ECA, 553 F.3d at 197 (intemal quotation
marks and citation omitted).

E. Statements of Opinion

Not only objective statements of material fact, but also subjective statements of opinion
can be actionable as fraud. As the Supreme Court has recently clarified, such statements of
opinion can give rise to liability in two distinct ways First, “1iability for making a false
statement of opinion may lie if either ‘the speaker did not hold the belief she professed’ or ‘the
supporting fact she supplied were untrue.”’ See Sanofz II, 816 F .3d at 210 (quoting Omnicare,
Inc. v. Laborers Dist. Council Const. Indus. Pension Funa’, 135 S. Ct. 1318, 1327 (2015)). “It is
not sufficient for these purposes to allege that an opinion was unreasonable, irrational,
excessively optimistic, [or] not borne out by subsequent events.” In re Salomon Analysl Level 3
Litz`g. , 350 F. Supp. 2d 477, 489 (S.D.N.Y. 2004). “The Second Circuit has firmly rejected this
‘fraud by hindsight’ approach.” Poa'any v. Robertson Stephens, Inc., 318 F. Supp. 2d 146, 156

(S.D.N.Y. 2004) (citing Stevelman v. Alias Research, Inc., 174 F.3d 79, 85 (2d Cir. 1999)).

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Second, “opinions, though sincerely held and otherwise true as a matter of fact, may
nonetheless be actionable if the speaker omits information whose omission makes the statement
misleading to a reasonable investor.” Sanofi II, 816 F.3d at 210 (citing Omnicare, 135 S. Ct. at
1332). To adequately allege that a statement of opinion was misleading through the omission of
material information, “[t]he investor must identify particular (and material) facts going to the
basis for the issuer’s opinion_facts about the inquiry the issuer did or did not conduct or the
knowledge it did or did not have-whose omission makes the opinion statement at issue
misleading to a reasonable person reading the statement fairly and in context.” Id. at 209
(quoting Omnicare, 135 S.Ct. at 1332). As the Second Circuit has explained, “a reasonable
investor, upon hearing a statement of opinion from an issuer, ‘expects not just that the issuer
believes the opinion (however irrationally), but that it fairly aligns with the information in the
issuer’s possession at a time.”’ Id. at 210 (quoting Omnicare, 135 S.Ct. at 1329). “The core
inquiry,” then, “is whether the omitted facts would ‘conflict with what a reasonable investor
would take from the statement itself.”’ Ia'. (quoting Omnicare, 135 S.Ct. at 1329).

As the Supreme Court has emphasized, however, the doctrine under which material
omissions of facts may render a statement of opinion actionable should not be given “an overly
expansive reading,” and establishing liability on such a theory “is no small task for an investor”
to meet. Id. (quoting Omnicare, 135 S. Ct. at 1332) (internal quotation marks omitted).
“Reasonable investors understand that opinions sometimes rest on a weighing of competing
facts, . . .[and do] not expect that every fact known to an issuer supports its opinion statement.”
Id. (quoting Omnicare, 135 S. Ct. at 1329) (alterations and internal quotation marks omitted).
“[A] statement of opinion ‘is not necessarily misleading when an issuer knows, but fails to

disclose, some fact cutting the other way.”’ Ia’. (quoting Omnicare, 135 S. Ct. at 1329). Further,

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statements of opinion must be considered in the context in which they arise. “‘[T]he investor
takes into account the customs and practices of the relevant industry,’ and . . . ‘an omission that
renders misleading a statement of opinion when viewed in a vacuum may not do so once that
statement is considered, as is appropriate, in a broader frame.”’ Ia’. (quoting Omm'care, 135 S.Ct.
at 1330).

F. The PSLRA Safe Harbor

The PSLRA amended the Exchange Act to provide a safe harbor for forward-looking
statements See 15 U.S.C. § 78u_5(c). Forward-looking statements are defined as those that

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contain, among other things, “a projection of revenues, income, [or] earnings, plans and
objectives of management for future operations,” or “a statement of future economic
performance.” Ia'. § 78u-5(i)(1). A forward-looking statement is not actionable if it “is
identified and accompanied by meaningful cautionary language or is immaterial or the plaintiff
fails to prove that it was made with actual knowledge that it was false or misleading.” Slayton v.
Am. Exp. Co., 604 F.3d 758, 766 (2d Cir. 2010). Because the statute is written in the disjunctive,
statements are protected by the safe harbor if they satisfy any one of these three categories ]a'.
Materiality is defined above; the other two categories are defined as follows:

Meaningful cautionary language: To qualify as “meaningful,” cautionary language
“must convey substantive information about factors that realistically could cause results to differ
materially from those projected in the forward-looking statements” Ia'. at 771 (quoting H.R.
Conf. Rep. 104-369, at 43 (1995)). Language that is “vague” or “mere boilerplate” does not
suffice. Ia'. at 772. “To determine whether cautionary language is meaningful, courts must first

‘identify the allegedly undisclosed risk’ and then ‘read the allegedly fraudulent materials_

including the cautionary language-to determine if a reasonable investor could have been misled

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into thinking that the risk that materialized and resulted in his loss did not actually exist.”’ In re
Delcath Sys., Inc. Sec. Litig., 36 F. Supp. 3d 320, 333 (S.D.N.Y. 2014) (quoting Halperin v.
eBanker USA.com, Inc., 295 F.3d 352, 359 (2d Cir. 2002)). Plaintiffs may establish that
cautionary language is not meaningful “by showing, for example, that the cautionary language
did not expressly warn of or did not directly relate to the risk that brought about plaintiffs’ loss”
Halperin, 295 F.3d at 359.

Actual knowledge: The scienter requirement for forward-looking statements_actual
knowledge_is “stricter than for statements of current fact. Whereas liability for the latter
requires a showing of either knowing falsity or recklessness, liability for the former attaches only
upon proof of knowing falsity.” Slayton, 604 F.3d at 773 (quoting Inst. Invs. Grp. v. Avaya, Inc. ,
564 F.3d 242, 274 (3d Cir. 2009)). Under the heightened pleading standards that apply to both
scienter requirements, plaintiffs must “state with particularity facts giving rise to a strong
inference that the defendant acted with the required state of mind.” 15 U.S.C. § 78u-4(b)(2).
III. Analysis

The Court begins with Xerox’s motion to dismiss Xerox argues that, for two reasons,
APERS’ Amended Complaint fails to state a Section 10(b) claim: First, it fails to allege any
actionable misstatements because none of the statements at issue was false or misleading; and
second, it fails to plead loss causation. And, because the Amended Complaint fails to state a
10(b) claim, Xerox argues, APERS’ derivative Section 20(a) claim must also be dismissed4

The Court’s analysis begins_and ends_with Xerox’s first argument Xerox argues that

the statements in each of the three categories at issue (Platform Statements, Success Statements,

 

4 Unlike defendant Zapfel, Xerox and the other individual defendants do not contend that the
Amended Complaint fails to adequately allege scienter.

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and Profitability Statements) are not actionably false or misleading, both because the Amended
Complaint does not plead falsity with the required particularity, and because the statements are
non-actionable puffery. For the reasons that follow, the Court agrees the challenged statements
are not actionable This holding obviates the need to address Xerox’s alternative argument based
on the pleadings as to loss causation, and Zapfel’s arguments particular to himself.

The Court begins by eliminating certain Statements whose theory of falsity the Amended
Complaint does not explain or which qualify as puffery. The Court then analyzes, category by
category, the remaining statements at issue.

A. Statements Lacking Particularized Allegations of Falsity

As to certain statements, APERS alleges only conclusorily, and with far from the
required particularity, how the given statement was false or misleading.

F or example, APERS faults Blodgett’s statement at the Barclays Capital Global
Technology, Media, and Telecommunications Conference on May 23, 2012, that “the Sole driver
of margin decline had to do with the significant set up in bookings and in growth rates” and that
this growth rate “was driven almost exclusively by the State of California and by a couple of
other maj or contracts” See Am. Compl. 11 180; Appendix No. 9. But the Amended Complaint
does not explain why this statement was, ostensibly, misleading lt states only that this statement
(and several others) was “materially false or misleading because Defendants failed to disclose
material information, when made.” Am. Compl. 11 183. Such an allegation does not state a claim
under Section 10(b). To plead falsity, a complaint must instead “specify . . . the reason or
reasons why the statement is misleading.” 15 U.S.C. § 78u-4(b)(1)(B); see Rombach, 355 F. 3d
at 174 (plaintiff “must demonstrate with specificity why and how” a statement was false or

misleading).

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The same deficiency_conclusory pleading_affects other statements which plaintiffs
term false or misleading5 The Court puts these statements aside as a basis for liability.

B. Statements Consisting of Mere Puffery

Many statements APERS faults_across all three categories_are puffery. Statements are
mere puffery, and non-actionable, when they are “too general to cause a reasonable investor to
rely upon them.” ECA, 553 F.3d at 206; accord Boca Raton Firefighters & Police Pension Fund
v. Bahash, 506 F. App’x 32, 37 (2d Cir. 2012); Kleinman v. Elan Corp., plc, 706 F.3d 145, 153
(2d Cir. 2013).

One set of the statements at issue that were too general to cause a reasonable investor to
rely upon them include those broadly reciting “[Xerox’s] belief in its ‘competitive advantage.”’
Steinberg v. PRT Grp., Inc., 88 F. Supp. 2d 294, 305 (S.D.N.Y. 2000). Such statements “cannot
reasonably be found to be misleading.” Ia'. Burns’s general statement at the November 13,
2012 Investor Conference is a good example. There, Burns stated: “This idea of platform is
something that we spend a lot of time talking about that it’s important that you understand that
helps us differentiate ourselves from our competitors around the world.” Am. Compl. 11 184;
Appendix No. 13. This statement suggested nothing more than Xerox’s confidence in its
competitiveness Accora', e.g., Norfolk Cnly. Ret. Sys. v. Tempur-Pea'ic Int’l, Inc., 22 F. Supp. 3d
669, 684 (E.D. Ky. 2014) (claim of “strengthened competitiveness” held puffery), ajj"a' sub nom.
Pension Funa' Grp. v. Tempur-Pea'ic Im"l, Inc., 614 F. App’x 237 (6th Cir. 2015); ]n re Cable &

Wireless, PLC Sec. Litig., 321 F. Supp. 2d 749, 768 (E.D. Va. 2004) (claim of competitive

 

5 See, e.g., Appendix Nos. l, 6, 8, 19, and 35. Certain statements are listed in the defendants’
reply brief appendix, and reproduced in the Appendix for completeness, although it is not clear
that APERS alleges that these were misleading at all. See Appendix Nos. 37, 48, 51, 54, 67, and
68. These statements, too, do not support a claim under Section 10(b).

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advantage held puffery). This and similar statements, see, e.g., Appendix No. 25 (“I think we
win [contracts] because we have great technology”), are not actionable 6

Another set of similarly ineligible statements are those that vaguely and enthusiastically
described Xerox’s performance, expectations of business success, or the fact of its business focus
on Health Enterprise Statements of this nature do not give a reasonable investor meaningful
information on which to rely. See, e.g. , Boca Raton Firejighters, 506 F. App’x at 37 (holding
puffery claim that company was able to “compete successfully in an increasingly global and
complex market, and that is true today and we are confident it will be so in the future”); SE
Pennsylvania Transp. Auth. v. Orrstown Fin. Servs., Inc., No. 1:12-CV-00993, 2015 WL
3833849, at *30 (M.D. Pa. June 22, 2015) (claim of experience held puffery); Sequans
Commc ’ns, 2013 WL 214297, at *14 (statement that company was “early leader” held puffery);
Garnmel v. Hewlett-Packard Co., 905 F. Supp. 2d 1052, 1071 (C.D. Cal. 2012) (claim of a deep
executive bench held puffery); In re Xinhua Fin. Media, Lta’. Sec. Litig., No. 07 CIV. 3994
LTS/AJP, 2009 WL 464934, at *8 (S.D.N.Y. Feb. 25, 2009) (claim that management team was
“strong,” “experienced,” and “capable” held puffery).

Here, for example, Xerox noted its “successful implementation” of Health Enterprise or
stated that it had “launched successfully” a state MMIS contract. See, e.g., Am. Compl. 11202;
Appendix No. 32. This and similar statements conveyed “no meaningful, objective data that an
investor would rely upon,” Billhofer v. Flamel Techs., S.A., No. 07 CIV. 9920, 2012 WL
3079186, at *9 (S.D.N.Y. July 30, 2012), except to the extent that they truthfully represented that

Xerox had commenced its MMIS contracts7

 

6 See, e.g., Appendix Nos. 2, 12, 13, 14, 23, and 25.

7 See, e.g., Appendix Nos. 10, 16, 20, 21, 22, 28, 31, 34, 42, 43, 45, 46, 56, 59, 64, 65, and 69.
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The key distinction between these and potentially actionable Statements is that these
statements were non-verifiable. See Novak, 216 F.3d at 315. To describe the initial launch of a
Health Enterprise implementation in a given state as a “success” does not give an investor an
assessment that can be measured or verified. For this reason, corporate statements that a
company is “moving forward well,” Billhofer, 2012 WL 3079186, at *9, that “things are going
well,” In re Nevsurt Res. Lta'., No. 12 CIV. 1845 PGG, 2013 WL 6017402, at *9 (S.D.N.Y. Sept.
27, 2013), that the company is “well positioned,” ia'., or that its operations are “successful,” ia'.,
are classically non-actionable unless “the statements addressed concrete and measurable areas of
the defendant company's performance,” id. Xerox’s optimistic musings about the early success
of its implementations of Health Enterprise were not of such a concrete nature8

Plaintiffs, finally, note that investment analysts at times repeated Xerox’s puffery. Pl. Br.
at 18~19; see Am. Compl. 1111 194, 196. But the fact of recapitulation by analysts did not make
these statements actionable See Rombach, 355 F.3d at 175. To be sure, a corporate officer may
be liable for “intentionally foster[ing] a mistaken belief concerning a material fact” where this
statement was then incorporated in and disseminated via analyst reports Novak, 216 F.3d at
314. But the analyst report must incorporate material facts A report that merely recaps
corporate puffery does not convert that puffery into a material misstatement See Rombach, 355
F.3d at 176 (statements of “puffery or misguided optimism” repeated in analyst reports not

actionable).

 

8 APERS rightly contrasts such statements with assertions by Xerox about increased profitability.
See Pl Br. 19. Such assertions form an alternative basis for APERS’s Section 10(b) claim, and
cannot be put aside as puffery, because corporate profitability is concrete and measurable The
Court analyzes these claims below. See Section lII.D, infra.

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C. Platform Statements

The Court next considers the Platform Statements. During the Class Period, Xerox and
its officers made a series of statements about its Health Enterprise system, including statements
that simply described the software as a “platform”9 and statements that supplied detail about the
features or capabilities of the platform (some consisting of puffery, Some not).lo Neither set of
Platform Statement, however, is an actionable violation of Section 10(b).

1. Statements Representing That Xerox Had a Platform

Statements that merely asserted, without more, that Xerox had a platform were not
misleading for a simple reason: Health Enterprise was a “platform.” For example, at Xerox’s
November 13, 2012 annual investor conference, Bums stated, “We have [a] platform we call
Enterprise Enterprise is the newest Medicaid platform.” Am. Compl. 11 185; Appendix No. 15.
Similarly, at the December 3, 2013 Credit Suisse Technology Conference, Mikells told analysts
and investors that Xerox had “other platforms in the health care space, specifically, our new
Medicaid Management Information platform that we’re deploying in certain states.” Am.
Compl. 11 212; Appendix. No. 44.

Statements of this kind were not misleading because Health Enterprise was justifiably
termed a “platform.” As Xerox notes, a “platform” is simply computer architecture upon which
other applications may run. See Def. Br. at 11 (citing, inter alia, Americarz Heritage Dictioriary
(2017)). APERS notes criticisms of Health Enterprise levied by some of Xerox’s customers, and
on this basis argues that Health Enterprise never was a “platform.” See Pl. Br. at 10_11. But

those criticisms went to the quality of Xerox’s platform, not to its existence Relevant too,

 

9 These statements include Appendix Nos. 3, 4, 6, 15, 24, 26, 44, 47, 49, and 54.

10 These statements include Appendix Nos. 7, 23, 25, 27, and 36.
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Xerox’s own descriptions of its product, reviewed in the next section, did not ever define
“platform” in such a way as to exclude Health Enterprise from that definition. Contra S.E. C. v.
Enterprises Sols., Inc., 142 F. Supp. 2d 561, 576-77 (S.D.N.Y. 2001).

For this reason, statements that extolled the benefits of Xerox’s Health Enterprise
platform in vague and enthusiastic terms_which the Court earlier held inactionable as puffery,
see Section III.A, supra; Steirtberg, 88 F. Supp. 2d at 305_are not are made actionable simply
because they embedded a description of Health Enterprise as a platform.ll Xerox, again, did
have a platform. Plaintiffs, for example, fault Blodgett’s February 12, 2013, address to the
Goldman Sachs Technology & Intemet Conference There, he stated:

I think we win [contracts] because we have great technology. People look at our

platforms and they realize that this stuff’ s pretty complicated. Our Medicaid

platform has 6 million lines of code in it, and, there hasn’t been a new Medicaid
system that’s been developed for a long time, in over a decade And so now, as we
demonstrate that to people, they can_they’re experts They look at it and [] say,

‘Wow, it has functionality and features that are unique’

Am. Compl. 11 191; Appendix No. 25. Similarly, plaintiffs fault Scanlon’s statement, at Xerox’s
March 7, 2013 Healthcare Services Analyst Day, that Xerox “had a big presence in a large
number of states” which the Health Enterprise “platform gives us an opportunity to expand.”
Am. Compl. 11 193; Appendix No. 26. But those statements, to the extent they described Health
Enterprises as a platform, were not misstatements, and to the extent they expressed enthusiasm

for that platform, were non-actionable puffery. Such statements were not false or misleading.

2. Statements Describing the Platform

During the Class Period, Xerox officers also made statements describing the Health
Enterprise platform’s features or functionality. In assessing these statements, the Court focuses

on the statements themselves, not plaintiff s recasting of them. See In re Centerline Holding Co.

 

ll See Appendix Nos. 23, 24, 25, 26, and 65.
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Sec. Lz'tig., 380 F. App’x 91, 94 (2d Cir. 2010). The Court, therefore considers the statements as
made, not APERS’s repeated claim in its brief that Xerox falsely held out Health Enterprise as a
“platform that was transferrable, reusable, replicable, and scalable, and possessed plug-and-play
characteristics.” Although Xerox officers represented Health Enterprise using some of those
terms, APERS does not point to any statement in which they used that phrase in its entirety (or
anything like it). Instead, at various points, Xerox officers either described features of Health
Enterprise or identified ways in which Xerox expected Health Enterprise to benefit Xerox in the
future

APERS’s central argument is that Xerox’s Platform Statements are actionable because
they “create[d] a false impression that [the] company [had] a developed, tested and presently
available product.” Pl. Br. at 9 (quoting SEC v StratoComm Corp., 2 F. Supp. 3d 240, 253
(N.D.N.Y 2014), affd 652 Fed. App’x 35 (2d Cir. 2016)). APERS focuses on certain claims by
Xerox officers about Health Enterprise’s capabilities In particular, APERS notes Maestri’s
claim at the 2012 J.P. Morgan Conference that Xerox could “reuse that platform as we acquire
new contracts,” Am. Compl. 1111 145, 175; Appendix No. 7, Mikell’s claim on the October 24,
2013 conference call that implementing Health Enterprise was a “pretty replicable process for
us,” Am. Compl. 11 203; Appendix No. 36, Scanlon’s representation, at Xerox’s 2013 Healthcare
Services Analyst Day, that Health Enterprise allowed Xerox to provide states with “a plug-and-
play with different capabilities that they have,” Am. Compl. 11 194; Appendix No. 27, and
Bums’s claim, on the October 24, 2013 call, that, as a result of Health Enterprise’s replicability,
“the bulk of the investment won’t have to change,” Am. Compl. 11206, Appendix No. 41.

Drawing on these statements, APERS charges that Xerox falsely claimed to have a product “that

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was transferrable, reusable, replicable, and scalable, and possessed plug-and-play
characteristics” E.g., Am. Compl. 11 141.

But these statements do not give rise to Section 10(b) liability, a point, in fact, well
underscored by comparison with two of the cases on which APERS relies: SEC v. e-Smart
Techs., Iric., 85 F. Supp. 3d 300 (D.D.C. 2015); and StratoComm, 2 F. Supp. 3d 240. ln e-Smart,
the company had falsely represented specific, concrete features of its technology_it falsely
stated that the “smart cards” at issue had a particular fingerprint sensor that could recognize
fingerprints at particular rates of` accuracy, and that the cards could receive an electrical charge
wirelessly, for example See id. at 315, 317~18. These claims, the district court held, were “at
the heart of e-Smart’s representations” about its smart-card technology. Id at 318. Accordingly,
the court held, e-Smart had claimed to have a product it did not have, and these statements
therefore could rise to Section 10(b) liability. In StratoComm, the company had represented that
it was selling its “Transitional Telecommunications System” product to clients around the world
when, in fact, it had no such product at all and had entered into no such sales contracts 2 F.
Supp. 3d at 254-57.

The statements by Xerox about its platform that APERS challenges were far less specific
than the factual claims at issue in e-Smart. In those statements, Xerox claimed that Health
Enterprise could be “reused,” that implementing Health Enterprise was a “pretty replicable
process” in which “the bulk of the investment [wouldn’t] have to change” and that Health
Enterprise would give state clients “a plug-and-play with different capabilities” And to the
extent that these statements are susceptible to verification or refutation, they are not concretely
pled to have been untrue (let alone untrue when made). Quite the contrary: Plaintiffs do not

dispute that Health Enterprise existed and that it was intended to be used for the purpose Xerox

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described. Nor do plaintiffs anywhere contend that Xerox’s Health Enterprise was incapable of
being “reused.” On the facts pled, Health Enterprise clearly was capable of being reused, albeit
(as Xerox did not hide) with modifications customized for the needs to the particular state
Plaintiffs also do not dispute the accuracy of Xerox’s statements to the effect that the platform
gave states the opportunity to build their own features onto the base architecture

Nor did Xerox’s statements represent that the company had a product that it in fact
lacked. To be sure, the process of implementation and state-specific integration of Health
Enterprise, as pled and as Xerox’s statements over time revealed, proved more difficult and
costly than Xerox had forecast. But those later adverse developments did not make untrue_and
certainly not at the time made-Xerox’s broad descriptions of Health Enterprise as a platform it
could “reuse . . . as we acquire new contracts,” as involving a “pretty replicable” implementation
process, or as enabling Xerox to provide states “a plug and play with different capabilities than
they have” Xerox’s claims are thus a far cry from those held actionable in StratoComm, whose
product “did not even exist.” 2 F. Supp. 3d at 255. Unlike the plaintiffs in e-Smart and
Stratocomm, APERS fails to identify any concrete statement that materially misrepresented facts
about the corporate defendant’s product.

3. Forward-Looking Statements

Finally, during the Class Period, Xerox officers described ways in which Health
Enterprise was anticipated to benefit the company in the future APERS, noting that the Health
Enterprise venture ultimately failed, bases its Section 10(b) claims, in part, upon these
statements Xerox counters that these forward-looking Platform Statements are not actionable,
given the ample cautionary language accompanying them, including with regard to the need for

Xerox to customize Health Enterprise to the circumstances presented by specific states APERS

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counters that the PSLRA’s safe harbor does not apply because Xerox’s statements were not
forward-looking but instead contained representations about the current state of Health
Enterprise, and because, to the extent Xerox’s statements were forward-looking, they were
unaccompanied by meaningful disclosures Pl. Br. at 17_18.12

As to the first obj ection, the PSLRA safe harbor provision applies to all forward-looking
statements where they were accompanied by meaningful cautionary language, were not material,
or were made without actual knowledge that they were false or misleading Slayton, 604 F.3d at
766.13 On the Court’s review, Xerox’s forward-looking statements at issue satisfied those
requirements

lllustrative is the October 24, 2013 conference call, on which APERS focuses There,
Mikells stated that “the really nice thing about platforms” was that_while “standing [them] up”
involves some “pain”_future implementation “becomes a pretty replicable process” that leads to
“scale and experience gains in that area.” Am. Compl. 11 203; Appendix No. 36. Mikells added

that she anticipated that the investments associated with implementing Health Enterprise contracts

 

12 APERS separately argues that even if the safe harbor for forward-looking statements applied,
it should not here, in light of the Amended Complaint’s claim that the Xerox officers who spoke
had “actual knowledge” their statements were false or misleading But that argument is wrong as
a matter of law. The PSLRA safe harbor is available so long as the forward-looking statement at
issue was immaterial or was accompanied by meaningful cautionary language, without regard to
the scienter with which it was made A material, forward-looking statement unaccompanied by
meaningfully cautionary language may also be non-actionable if the plaintiff fails to prove that it
was made with actual knowledge of its falsity or misleading nature But, “[t]he safe harbor is
written in the disj unctive; that is, a defendant is not liable if the forward-looking statement is
identified and accompanied by meaningful cautionary language or is immaterial or the plaintiff
fails to prove that it was made with actual knowledge that it was false or misleading.” Slayton,
604 F.3d at 766.

13 The statements must also have been identified as forward-looking Slayton, 604 F.3d at 769.
That element has not been put in significant dispute here

31

(like other factors bearing on Xerox’s profits) would be “transitionary and temporary factors” in
“2014 and beyond.” Am. Compl. 11 204; Appendix No. 38. Those statements were forward-
looking_they described Xerox’s expectations as to how implementation of Health Enterprise
would benefit the company in the future-and were accompanied by meaningful cautionary
language On the same call, Mikells cautioned that “standing up these systems is not particularly
easy.” Atkinson Decl., Ex. 27 at 8; see also id at 12. Indeed, Burns noted, doing so had “cost a
little bit more than we thought.” Id. at 14. But, Mikells predicted that, implementing “new
platforms” would “become for us repeatable processes.” See Am. Compl. 11 205; Appendix No.
39. APERS faults that statement as misleading But in making this predictive, forward-looking
statement, Mikells noted the challenges presented by “standing these things up,” including cost
challenges, and disclosed that Xerox expected to have “year-over-year margin decline” in its
Services business Atkinson Decl., Ex. 27 at 16 (emphasis added).14

APERS separately faults a statement by Bums on that same October 24, 2013 call. There,
Bums elaborated on her expectations for the future implementation of Health Enterprise She
predicted that “the bulk of the investment won’t have to change.” Am. Compl. 11 206; Appendix

No. 41. Like Mikells’ statements, however, Burns’s prediction was accompanied by sufficiently

 

14 On that same call, Burns opined that the most difficult stage of the Health Enterprise
implementation process was behind the company. She stated: “I’m very pleased that we’ve
actually been able to stand up exchanges and MMIS system actually operating, taking customers’
calls, et cetera. It costs a little bit more than we thought[ i]t would cost and that’s one of the
pressures that we saw in third [quarter] and we’ll see a little bit in fourth but we have done it
now.” Am. Compl. 11 206; Appendix No. 40. While aspects of this statement can be read as
forward-looking and/or as statements of opinion, one aspect-Bums’s representation that Xerox
“ha[d] done it now”_was factual and related to present events. But that representation is not
actionable because it is not alleged to have been untrue On the contrary, as APERS admits, as of
October 24, 2013, Xerox had implemented Health Enterprise, in that the New Hampshire
implementation had been completed in April 2013, Am. Compl. 11 75, and the Alaska MMIS went
live on October 1, 2013. Id. 11 97.

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meaningful cautionary language to bring it within the PSLRA safe harbor. Burns stated: “We
have to modify for every engagement a little bit of the system but not as big a modification as
before and that’s one of the things that we are learning.” Id. APERS disputes Burns’s
cautionary admonition because she described the part of the system that would require
modification as “little” See Pl. Br. at 12 & n.10. But “Section 10-b is not concerned with such
subtle disagreements over adjectives and semantics.” City of Austin Police Ret. Sys. v. Kinross
Gold Corp., 957 F. Supp. 2d 277, 298 (S.D.N.Y. 2013); see also id. (distinction between
“relatively hard” and “very hard” ore not meaningful); In re Merrill Lynch Auction Rate Sec.
Litig., 704 F. Supp. 2d 378, 392 (S.D.N.Y. 2010), a]Y’d sub nom. Wilson v. Merrill Lynch & Co.,
671 F.3d 120 (2d Cir. 2011) (“semantic distinction [between “routinely” and “systematically”] is
not persuasive”); In re Xinhua Fin. Media, Ltd. Sec. Litig., 2009 WL 464934, at *8 (“[S]oft
adjectives are nothing more than puffery.”). Burns’s cautionary language was sufficient, as a
matter of law, to warn investors of the risk that, as Xerox implemented its Health Enterprise
platform in other states, it would be required, each time, to modify it.15

D. Success Statements

Throughout the Class Period, Xerox officers made numerous statements describing the
company’s success in implementing Health Enterprise pursuant to its six state contracts Of the
Success Statements that are not non-actionable puffery, see Section III.B, supra, the remainder

are non-actionable opinion statements or statements of fact that were not false or misleading

 

15 Xerox’s other forward-looking statements about the company’s expectations for the future
implementation of Health Enterprise are similarly inactionable. See Appendix Nos. 44, 52, and
55.

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1. Statements of Opinion

Xerox executives, while often using qualifying language, repeatedly opined_for
example, on the January 24, 2014 and October 22, 2014 conference calls with analysts and
investors_that the implementation of Health Enterprise was going well. See, e. g., Am. Compl.
11 213; Appendix Nos. 45, 46; Am. Compl. 11 233; Appendix No. 56 (“Within government
healthcare, we’re making good progress, but expense levels are still high as we continue to invest
to improve the performance of the first platform implementation of our new Medicaid
platform.”). Xerox officials also touted_at, for example, the December 7, 2012 BMO Capital
Markets IT Services Day or the September 2, 2014 Citi Global Technology Conference_the
implementation of Health Enterprise in specific states as reasonably successful See, e.g., Am.
Compl. 11 187; Appendix No. 16 (“I think [California’s] operating well.”); Am. Compl. 11 199;
Appendix Nos. 30, 31 (“And as California is maturing, thank God, and is doing fairly well l’m
not going to say very well because very well always jinxes me . . . . But l don’t think revenue
will be down.”); Am. Compl. 11 228 ; Appendix No. 55 (“I think on our existing contracts, we’ve
got a good path to work through kind of the final touches on some of the implementations and
then get to a steady state model that we can live with.”); Am. Compl. 1111 23 8~39; Appendix No.
60, 61 (“Now, in my view, we’re making visible progress here.”); Am. Compl. 11 240; Appendix
No. 62 (“[W]e feel like we’ve got a good handle on this executing the handful of states that l
showed on the map that you looked at.”). These evaluative assessments are quintessential
statements of opinion. Omnicare, 135 S. Ct. at 1325-26; see In re Gen. Elec. Co. Sec. Litig., 856
F. Supp. 2d 645, 657 (S.D.N.Y. 2012); Fait v. Regions Fin. Corp., 655 F.3d 105, 110 (2d Cir.

2011).16

 

16 As the Supreme Court has explained:

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As reviewed earlier, statements of opinion may give rise to liability in two ways: first, “if
either ‘the speaker did not hold the belief she professed’ or ‘the supporting fact she supplied
were untrue,”’ see Sanofi II, 816 F.3d at 210 (quoting Omnicare, 135 S. Ct. at 1327), and,
second, even if sincerely held, “if the speaker omits information whose omission makes the
statement misleading to a reasonable investor,” id. “The core inquiry” thus “is whether the
omitted facts would ‘conflict with what a reasonable investor would take from the statement
itself.”’ Id. (quoting Omnicare, 135 S. Ct. at 1329).

APERS does not argue that these statements fall within the first category of opinions
Ornnicare recognizes as actionable: APERS does not allege that Xerox’s officers held beliefs
other than those they professed, or that the facts embedded in these opinions were untrue.17 See
Pl. Br. at 12-14. Rather, APERS argues that Xerox had a duty to disclose information whose
omission made the statements misleading See generally Ornnicare, 135 S. Ct. at 1329-30.

lnstead, APERS pursues the second route identified in Oinnicare, in which a statement of

opinion may be actionably misleading because Xerox omitted material contrary facts APERS

 

A fact is “a thing done or existing” or “[a]n actual happening.” Webster’s New
lnternational Dictionary 782 (1927). An opinion is “a belief[,] a view,” or a
“sentiment which the mind forms of persons or things” Id., at 1509. Most important,
a statement of fact (“the coffee is hot”) expresses certainty about a thing, whereas a
statement of opinion (“l think the coffee is hot”) does not. See ibid. (“An opinion,
in ordinary usage does not imply definiteness or certainty”); 7 Oxford English
Dictionary 151 (1933) (an opinion “rests[s] on grounds insufficient for complete
demonstration”). lndeed, that difference between the two is so ingrained in our
everyday ways of speaking and thinking as to make resort to old dictionaries seem a
mite silly.

Omnicare, 135 S. Ct. at 1325-26.

17 APERS argues that the defendants (other than Zapfel) have conceded they disbelieved their
opinion statements because they have not moved to dismiss on grounds of scienter. Pl. Br. at 20.
But the Amended Complaint does not allege that Xerox officers disbelieved the opinions they
espoused. APERS cannot meet its pleading obligations by drawing inferences from defendants’
litigation strategy in pursuing dismissal

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likens this case to In re Hi-Crush Partners L.P. Securiiy Litigation, No. 12 CV 8557 (CM), 2013
WL 6233561 (S.D.N.Y. Dec. 2, 2013). There, Judge (now-Chief Judge) Mcl\/lahon held that Hi-
Crush, as pled, had misled investors by touting its relationship with Baker Hughes while failing
to disclose that its contract with Baker Hughes_which accounted for 18.2% of the company’s
revenues_had been terminated. Id. at *14. The failure to disclose Baker Hughes’s termination,
Judge McMahon held, had become misleading once Hi-Crush’s dispute with Baker Hughes had
“ripened” to the point where Baker Hughes formally repudiated the contract. Id. at *13. Before
that point, Judge McMahon held, although the relationship with Baker Hughes was “strained,”
Hi-Crush had no obligation to disclose Id at *12_13; see id. at *8.

Applied here, Judge McMahon’s analysis undercuts, rather than supports, APERS’s
claim that Xerox had a duty to disclose its challenges implementing Health Enterprise alongside
its generally positive statements of opinion. APERS, notably, does not allege that Xerox failed
to disclose the rupture of any state contract or any such decisive event. And it cannot so allege:
as pled, there was no repudiation of these contracts by any of Xerox’s state clients until
California did so in April 2016, some six months after the Class Period ended.

APERS instead faults Xerox for not disclosing “the litany of current adverse facts
known” to it. Pl. Br. at 14. But, as Judge McMahon’s explanation of why Hi-Crush had not had
a duty to disclose its strained relationship with its contract partner reflects, Xerox here did not
have a duty to disclose the implementation challenges it was confronting See, e.g., In re
Express Scripts Holding Co. Sec. Litig., No. 16 CIV. 3338 (ER), 2017 WL 3278930, at *13
(S.D.N.Y. Aug. 1, 2017) (no duty to disclose before dispute with contract partner ripened).

Notably, too, in viewing Xerox’s statements of opinion, these statements are properly

cast as guardedly optimistic. Viewed together, they were far from unconditionally positive or

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euphoric, a circumstance in which a duty to disclose the more complex business reality arguably
might have arisen. And, notably, Xerox, at various points, did disclose, albeit in general terms,
challenges it was encountering F or example, on the October 24, 2013 call, Mikells stated that
“standing up these systems is not particularly easy,” and that implementation costs had exceeded
expectations See Atkinson Decl., Ex. 27 at 8; id at 12. Especially when viewed in light of the
Supreme Court’s cautionary reminders in Omnicare about attempts to establish liability for
statements of opinion based on the nondisclosure of associated facts_that doing so “is no small
task for an investor to meet,” that “a [r]easonable investor does not expect that every fact known
to an issuer supports its opinion statement,” and that an opinion statement “is not necessarily
misleading when an issuer knows, but fails to disclose, some fact cutting the other way,” 135 S.
Ct. at 1329, 1332_Xerox’s opinion statements here, as pled, were not actionably misleading

2. Statements of Fact

APERS next faults Xerox for statements its officers made about the implementation of
Health Enterprise in California. These Success Statements are not properly classed as opinions
(or forward looking). They are factual statements regarding current reality.

APERS faults Xerox for statements that described the California implementation in
favorable terms lt notes that Xerox ultimately failed to implement the platform there
Representative of these statements is Blodgett’s statement on May 23, 2012, at the Barclays
Capital conference, to the effect that “the State of California has gone very well.” Am. Compl.
1111 163, 181; Appendix No. 10. For the reasons covered earlier, this statement was non-
actionable puffery because it conveyed “no meaningful, objective data that an investor would
rely upon.” Billhofer, 2012 WL 3079186, at *9. But even if Blodgett’s statement were treated
as potentially actionable, APERS does not plausibly allege that this statement, at the time made,

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APERS’s case is instead built on hindsight lt relies on reports from the California IPOC,
which post-date Blodgett’s May 23, 2012 statement, as evidence that the California project was
going poorly at the time of the statement See Am. Compl. 11 183. But those reports, as alleged,
did not identify difficulties in the implementation of the California l\/IMlS as of the time of that
statement (let alone difficulties known to the speaker, Blodgett). See id APERS does not
adduce particular facts supporting the claim that, as of May 23, 2012, Blodgett or anyone else at
Xerox knew of any fact_indeed, that any fact existed_that would call into question the general
assessment that implementation in California was going well.

The same is true of the statements made at Xerox’s December 7, 2012, presentation at the
BMO Capital Markets IT Services Day, Which APERS also faults See Am. Compl. 11 187.
There, in response to an analyst’s question whether California would turn a profit in the fourth
quarter of 2012, Bywater stated: “lt’s definitely getting closer. So it’s improving.” Id.;
Appendix No. 17. APERS alleges this statement was false or misleading because Bywater
ostensibly knew that Xerox was not receiving any revenue for the California implementation as
of December 2012. Id. 11 188. But APERS again relies only on reports from the California lPOC
that post-date Bywater’s December 2012 statement See Am. Compl. 11 188 (citing id. 11 179).
APERS does not anywhere allege that Bywater’s view that the California implementation was
“improving,” whether treated as a statement of opinion or as a statement of fact, was false or
misleading

E. Profitability Statements

The third category of challenged statements, Xerox’s Profitability Statements, are also all
non-actionable For the most part, Xerox officers in the Class Period described the company’s

expectations as to the future profitability of Health Enterprise These statements were forward

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looking and, as discussed below, fall within the PSLRA’s safe harbor. On other occasions,
Xerox officers made statements about the current profitability of the company’s MMIS business
These are non-actionable for a separate reason: As pled, they were not misleading
1. Forward Looking Statements About Profitability

On several occasions, Xerox officers made statements articulating the expectation that
Health Enterprise in general, particular state contracts, or the company’s Service business would
become profitable.18 These forward-looking statements however, are clearly non-actionable, as
they were accompanied by meaningful cautionary language

Among the statements predicting that the company would enjoy improved margins or

improved profitability in the later years of its MMlS contracts are the following (ln each case,
the Court notes Xerox’s cautionary language in the ensuing footnote.)

0 At the May 17, 2012 J.P. Morgan Conference, Maestri said, “[A]s we enter 2013,
we’re going to be entering at a significantly higher level of operating margins on the
services side And the reason for that is that, a lot of the startup costs, the ramping of
the investment in platforms that we made on some of the services business have

already taken place, and now we’re getting into a much more normalized level of
margins on a lot of these new contracts” Am. Compl. 11 174; Appendix No. 5.19

 

18 See Appendix Nos. 4, 5, 7, 11, 18, 66, 68, and 70.

19 As to cautionary language, Maestri, in the same presentation, warned that service contracts
take considerable time to become profitable Atkinson Decl., Ex. 5 at 7 (“From a profit
perspective, the time to profit on a services contract is longer than the time to revenue The
typical margin profile of a services contract typically starts with very low margins, which tend to
expand over time as you put efficiencies into the outsourcing contract.”). Maestri’s other
forward-looking statements at the conference were accompanied by this cautionary language
See Appendix No. 7. To the extent Maestri’s forward-looking statement also contained a
statement about a current condition_“investment in platforms that [Xerox] made”_that
statement is not pled as false See Section Ill.C.l, supra. Blodgett made a similar statement to
Maestri’s at the May 23, 2012 Barclays Conference Am. Compl. 11 181; Appendix No. 11
(“[W]e’re confident that just the_that the natural progression will bring margins up.”). lt, too,
was accompanied by meaningful cautionary language See Atkinson Decl., Ex. 6 at 7-8 (“Last
year, we had a drag on cash flow because of California . . . . lt was a large investment in cash.”).

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l On the April 23, 2013 conference call, Burns stated: “You will-you could see
strength in cash based on how effectively we bring those contracts and all other
contract[s] that we have to maturity. So you could have some benefit in cash. l don’t
think that you’ll see a negative in revenue Mega deals have_the mega deals that
we’ve signed have a cash_as they mature, they have a cash benefit, right?” Am.
Compl. 11 199; Appendix No. 30.20

¢ On April 22, 2014, Xerox held a conference call to discuss its Ql 2014 results Am.
Compl. 11 217. On that call, Bums commented on the progress the company was
making in implementing Health Enterprise in California and noted the “path . . .
towards profitability” that the California project was on. Id. 1111 219-20; Appendix
No. 50; see id 1111224-25.21
These statements fall within the PSLRA’s safe-harbor provision for forward-looking
statements Each articulated Xerox’s projections for future profitability, rather than making a
factual representation about the company’s current state Each was identified as forward-

looking. And Xerox accompanied each with meaningful cautionary language22 These

statements are not, therefore, actionable under Section 10(b).

 

20 As to cautionary language, Bums stated on the same call that decision-making in the
implementation of government contracts takes “a little bit longer,” Atkinson Decl., Ex. 21, at 8-
9, and that mega deals in particular “take a long time to ramp [up],” id. at 10.

21 As to cautionary language, on the April 22, 2014 call, Mikells explained the company’s
disappointing margins See Atkinson Decl., Ex. 34 at 5. She cautioned: “The work involved
with implementing these new platforms is significant and we faced greater challenged than
anticipated getting new clients to a good level of operating performance and then costing down
the ongoing maintenance of the program. While we’re making progress on improving our
operational performance, it’s costing more than we expected. And it’s going to take us more
time before we can lean out the resources supporting these proj ects.” Id. at 5_6; see also id. at 6
(“We know it’s going to take us longer and will cost us more to get these implementations right .
. . .”); id. at 8 (“[R]equired additional spending in our government healthcare business has
triggered a revision to our guidance.”).

22 See also Appendix Nos. 33 (“As with many large new programs, there is an initial period of
higher cost during roll out, including non-cash amortization of the platforms We continue to be
excited about these long-term healthcare related opportunities and expect to gain scale and
experience efficiencies over time”); 44 (“And whenever you stand up a big new platform, it’s
relatively expensive the first time you stand it up. You then build scale, you build experience,
you get more efficient, more cost effective at it each time you stand it up.”). To the extent that
APERS argues that forward-looking statements accompanied by adequate cautionary language

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2. Statements About Xerox’s Current Financial Status

Other statements in this category concerned Xerox’s current financial status These,
however, are non-actionable because, as pled, they were neither false nor misleading

First, on an April 23, 2012, conference call, Burns said, “[a]nd our profitability is
improving in th[e healthcare] segment actually very, very well. So l’m bullish about healthcare,
government healthcare services.” Am. Compl. 11 198; Appendix No. 29. Burns thus represented
that Xerox’s profitability was improving And because her statement articulated facts about a
verifiable metric of significance to investors-the current state of Health Enterprise’s
profitability_it is, in theory, a viable target for a claim of falsity.

Bums’s statement, however, is not adequately pled as false or misleading APERS bases
its claim of falsity on the allegation that Xerox’s profitability in California was not then
improving See Am. Compl. 11 200. But Burns’s statement was not limited to California. Her
statement instead was that the profitability of the company’s healthcare segment as a whole was
improving See Am. Compl. 11 198 (“Our profitability is improving in that segment actually very,
very well.”). And the Amended Complaint does not allege why, factually, that statement was
false On the contrary, on the same call, Bums gave a detailed summary of the company’s Ql
2013 results She explained that “services” revenue had increased 4%, that 60% of Services
revenue came from Business Process Outsourcing, and that that segment was “benefitting from
strong growth in transactional processing and state government services.” Atkinson Decl., Ex.
21 at 3-4. Those allegations provide data support for Bums’s statements, and the Amended

Complaint does not plead any facts that call this data into question.

 

fall outside the PSLRA’s safe harbor because defendants have not challenged the factual
adequacy of the Amended Complaint’s scienter allegations that argument fails for the reasons
addressed earlier. See Section lll.C.3 & n.12, supra (citing Slayton, 604 F.3d at 766).

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Second, on July 25, 2014, Xerox held a conference call to discuss its Q2 2014 results
Am. Compl. 11 226. On that call, Burns again commented on implementation in California. She
stated:

And if you look at some of the contracts that are more mature, moving towards

more maturity, California for example, we have been able to literally move that

contract from investment phase to flat profitability, now to looking for growing

profitability in a very predictable kind of a standard way. lt took a little bit longer,

but on a go-forward basis, California is going to be beautiful and we expect as we

implement New York to be beautiful as well.

Id. 11 227; Appendix No. 5 3. Much of that statement, including the “beautiful” future that Burns
anticipated for the company’s contracts in California and New York, is classic puffery. APERS,
however, faults Burns for claiming that Xerox had “been able to literally” convert the California
MMIS contract “from investment phase to flat profitability.” See id. 11 229.

That statement provides a viable basis for a Section 10(b) claim, insofar as it is not
puffery, opinion, or forward-looking lt makes a verifiable claim about a financial metric:
whether the California contract was then in the “investment” phase-i.e. losing money in
anticipation of future earnings_or whether it had achieved “flat profitability,” presumably
meaning it was no longer losing money. Burns represented the latter. APERS faults this
statement, noting that Xerox had yet to receive any revenue on the California contract at the time
Burns spoke Xerox counters that this statement was not false or misleading As Xerox
explains, it was authorized\, under applicable accounting rules, to recognize revenue based on the
percentage of the contract that it had completed, without regard to whether the company had yet
actually received any cash from its customer. lt therefore could fairly claim to have moved

beyond the “investment phase,” and, as a result of its recognition of revenue, its financial

statements accordingly were consistent with “flat profitability.” See Def. Reply Br. at 9.

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The Court holds with Xerox on this point, too. Bums’s statement to the effect that Xerox
had moved beyond the “investment phase” to “flat profitability” did not embed any other factual
representations Burns did not, for example, represent that the company was then taking in cash
receipts Nor did she state that the company’s cash flow on the project was positive or flat. And
APERS does not allege any concrete manner in which Burns’s statement was factually false To
be sure, Burns’s colloquial use of the somewhat indistinct terms “investment phase” and “flat
profitability” left room for interpretation Different listeners might make different assumptions
about what precisely those phrases connoted. But an indistinct statement does not inherently
constitute a false or misleading statement And APERS does not plead facts calling into question
Xerox’s proposition that, under the accounting rules it was entitled to recognize revenue on the
California contract at that juncture Nor does APERS challenge Xerox’s financial statements or
claim that these were inconsistent with “flat profitability.” Indeed, APERS does not challenge
any numeric statement or accounting results reported in the company’s various 8-K and 10-K
filings including as to revenue reco gnition. Under these circumstances there was a factual basis
for Bums’s statement. That Xerox had reached the point where it was entitled to recognize
revenue on the California contract gave Burns a valid factual basis on which to claim to have
moved past the “investment phase” in connection with that contract, and APERS does not allege
facts exposing as false her accompanying claim of “flat profitability.”

For the reasons above, the Court holds that none of the challenged statements in the
Amended Complaint satisfies the fundamental requirement of a Section 10(b) claim: that it be
false or misleading Each challenged statement instead was either puffery, a non-actionable

statement of opinion, a protected forward-looking statement, or otherwise not factually pled as a

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false or misleading statement of fact. Accordingly, the Amended Complaint fails to state a claim
under Section 10(b).

F. Loss Causation

Because the Court holds that the Amended Complaint fails to allege any material
misrepresentation or omission by the defendants the Court has no occasion to reach defendants’
alternative argument that the Amended Complaint does not adequately plead loss causation.

G. Section 20(a) Claim

To state a claim under § 20(a), a plaintiff must adequately allege “a primary violation by
the controlled person.” Carpenter Pension T rust Fund, 750 F.3d at 236 (quoting ATSI, 493 F.3d
at 108). Because APERS has not done so, its § 20(a) claim must also be dismissed See, e.g., In
re Lions Gate Entm ’t Corp. Sec. Litig., No. 14 Civ. 5197 (JGK), 2016 WL 297722, at *18
(S.D.N.Y. Jan. 22, 2016) (dismissing § 20(a) claim based on failure to allege a primary
violation).

H. Zapfel’s Motion to Dismiss

Zapfel adopted Xerox’s arguments for dismissal. See Zapfel Br. at 1 n.2. ln light of the
Court’s holding that no statement attributed to Zapfel23 (or any other defendant) in the Amended
Complaint was actionable under Section 10(b), the Court has no occasion to consider the
additional arguments Zapfel makes for dismissal

CONCLUSION
For all of the foregoing reasons the Court grants defendants’ motions to dismiss Dkts.

59, 65. The Clerk of Court is respectfully directed to close this case

 

23 See Appendix Nos. 55, 59, 60, 61, 62, 63, and 66.
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Paul A Engelmayer
United States District Judge

Dated: March 20, 2018
New York, New York

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Appendix

 

 

 

 

 

 

 

Compl. Forum Statement
NO' / Date (+ Speaker)
Ex1.
1 11 162 / Apr. Conference Call “We essentially follow these contracts and l’ll let Lynn
Ex. 2 at 12 23, (Maestri) [Blodgett] expand on it, but we follow all these
2012 contracts at the granular level so each one of them, and
we’ve got specific, you know, actions for all of them,
starting from California, but all the other big ones that
we are starting up and l think it’s just going to be the
way that we go through the year that some of those
[margin] pressures are going to mitigate as we actually
get these contracts to a steady state.”
2 1111 143, 171 Apr. Conference “We are doing a number of things we think, to
/ Ex. 2 at 12 23, Call continue to drive margin improvement . . . [W]e’re
2012 (Blodgett) shifting a lot of our work to platforms our new MMlS
platform that was a significant investment is the kind of
thing that will help drive higher margins”
3 1111 144, 172 Apr. Conference “[T]he other thing that’s happening is that the use of the
/ Ex. 2 at 17 23, Call (Blodgett) platforms that we’ve made significant investments in,
2012 you know, the MMIS application that has taken us a
long time to build. lt’s the first new MMIS system
that’s been built in 15 years, and it’s compliant with all
of the new regs and everything . . . .”
4 1111 144, 172 Apr. Conference Call “[T]hat is a major, a major accomplishment to get that
/ Ex. 2 at 17 23, (Blodgett) in [building the MMIS] and as we put applications or
2012 states on that new platform we’ll see improved
margins.”
5 11 174 / May J.P. Morgan “[A]s we enter 2013, we’re going to be entering at a
Ex. 5 at 7 17, Conference significantly higher level of operating margins on the
2012 (Maestri) services side And the reason for that is that, a lot of

 

 

 

 

the startup costs the ramping of the investment in
platforms that we made on some of the services
business have already taken place, and now we’re
getting into a much more normalized level of margins
on a lot of these new contracts.”

 

 

1 Citations to paragraphs are to the Amended Complaint. Citations to exhibits are to the
Atkinson Declaration.

 

 

 

 

 

 

 

 

Compl. Forum Statement
No. / Date (+ Speaker)
Ex1.
6 1111 145, 175 May J.P. Morgan “[W]e’ve made platform investments that our
/ Ex. 5 at 9 17, Conference competitors have not made So for example we have
2012 (l\/laestri) spent [a] significant amount of money during 2010 and
2011 to deliver a specific platform, to deliver
healthcare processing services to the states here in the
U.S.”
7 1111 145, 175 May J.P. Morgan “And so obviously, now that we’ve got the platform,
/ Ex. 5 at 9- 17, Conference we can reuse that platform as we acquire new contracts
10 2012 (Maestri) And therefore, our cost of delivery of those contracts is
going to be significantly lower than what our
competitors can offer.”
8 1111 163, 180 May Barclays “Obviously, the [services] margins are a critical, critical
/ Ex. 6 at 4 23, Conference importance to us.”
2012 (Blodgett)
9 11 180 / May Barclays “[T]he sole driver of margin decline had to do with the
Ex. 6 at 4 23, Conference significant step up in bookings and in growth rates . . .
2012 (Blodgett) [This growth] was driven almost exclusively by the
State of California and by a couple of other maj or
contracts that we were starting up in our financial
services area. So we knew that we’d see some
downward pressure The way that, that becomes
resolved is that we just continue to work through the
startup phase.”
10 1111 155, 163, May Barclays “We’re happy to say that California implementation has
181 / Ex. 6 23, Conference gone very well, and we’re just working now through
at 4 2012 (Blodgett) the - we kind of go through the stage of assimilating it,

 

 

 

 

and then you go through the refining process where we
can help bring down costs and then you really do to -
go to the ultimate full implementation phase of it.
We’re right in the middle of those.”

 

ii

 

 

 

 

 

 

 

 

 

 

 

Compl. Forum Statement
NO' / Date (+ Speaker)
Ex1.
11 1111 155, 181 May Barclays “[S]o we’re confident that just the - that natural
/ Ex. 6 at 4 23, Conference progression will bring margins up. Expect to see a
2012 (Blodgett) slight uptick from last quarter and see it again next
quarter, and then by fourth quarter we’ll be exiting out
of a less smaller target run rate for margins.”
12 11 184 / Nov. Xerox Annual “The second is - second area of strength is operational
Ex. 13 at 6 13, Conference excellence This is something that came in spades when
2012 (Burns) we bought ACS, when we bought Business Process
Outsourcing Company that was steep in developing
repeatable solutions into very complex problems This
is all about platforms.”
13 1111 146, 184 Nov. Xerox Annual “This idea of platform is something that we spend a lot
/ Ex. 13 at 7 13, Conference of time talking about that it’s important that you
2012 (Burns) understand that helps us differentiate ourselves from
our competitors around the world.”
14 11 184 / Nov. Xerox Annual “Platforms across the board help us to have repeatable
Ex. 13 at 7 13, Conference solutions.”
2012 (Burns)
15 11 185 / Nov. Xerox Annual “We have [a] platform we call Enterprise Enterprise is
Ex. 13 at 12 13, Conference the newest Medicaid platform.”
2012 (Burns)
16 11 187 / Dec. BMO Capital “Yes. [California is a] great client, a very large client.
Ex. 14 at 14 7, Markets IT l think it’s operating well. We’re continuing to drive
2012 Services Day efficiencies into that business and l’m encouraged by
(Bywater) the trend. Very encouraged by the trend on that
business unit.”
17 11 187 / Dec. Bl\/lO Capital “[The California implementation is] definitely getting
Ex. 14 at 14 7, Markets lT closer [to turning a profit], so it’s improving.”
2012 Services Day
(Bywater)
18 11 187 / Dec. BMO Capital “Yes, and l don’t think we’ve given of late any
Ex. 14 at 14 7, Markets lT specifics on [the California implementation]. Butl
2012 Services Day think what David [Bywater] is saying is the trend keeps
(Horsley) improving and we are confident that we are going to

 

 

 

 

see a sequential positive on the California deal.”

 

iii

 

 

 

 

 

 

 

 

 

 

Compl. Forum Statement
NO° / Date (+ Speaker)
Ex1.
19 11 187/ Dec. BMO Capital “These contracts as you know, are - some Medicaid
Ex. 14 at 14 7, Markets lT contracts will run 10, 15, 20 years and they’re - it’s a
2012 Services Day very profitable piece of my portfolio.”
(Bywater)
20 11 187 / Dec. BMO Capital “So [MMIS implementation] has not improved as
Ex. 14 at 14 7, Markets lT quickly as we wanted it to, but it’s definitely on a
2012 Services Day steady improvement, which is [] very encouraging for
(Bywater) us.”
21 11 187 / Dec. BMO Capital “And we are making the investments to make sure
Ex. 14 at 14 7, Markets lT [l\/ll\/IIS implementation] is a long-term, very positive
2012 Services Day relationship and accretive relationship for all parties.”
(Bywater)
22 11 187 / Dec. BMO Capital “And then we had ~ so as a result, we had to drive
Ex. 14 at 15 7, Markets IT down our efficiencies - drive our efficiencies faster.
2012 Services Day We’ve made good progress but you can only go so fast
(Bywater) and make sure you continue to drive and deliver [a]
very solid performance for the client, which is our first
priority.”
23 11 190 / Feb. Goldman Sachs “l think the overall competitive advantage that we have
Ex. 17 at 5 12, Conference . . . as an overall general statement, we have strong
2013 (Blodgett) platforms.”
24 11 190 / Feb. Goldman Sachs “lf you look at our Medicaid business for example, . . .
Ex. 17 at 5 12, Conference we’re just introducing our new enterprise platform. lt’s
2013 (Blodgett) going live here in a couple of months.”
25 1111 147, 191 Feb. Goldman Sachs “l think we win [contracts] because we have great
/ Ex. 17 at 6 12, Conference technology. People look at our platforms and they
2013 (Blodgett) realize that this stuff’ s pretty complicated Our

 

 

 

 

Medicaid platform has 6 million lines of code in it, and,
there hasn’t been a new Medicaid system that’s been
developed for a long time, in over a decade And so
now, as we demonstrate that to people, they can -
they’re experts They look at it and [] say, ‘Wow, it has
functionality and features that are unique.”’

 

iv

 

 

 

 

 

 

 

 

Compl. Forum Statement
No' / Date (+ Speaker)
Ex'.
26 11 193 / Mar. Xerox “[W]e have a big presence in a large number of states
Ex. 19 at 11 7, Healthcare and that platform gives us the opportunity to extend”.
2013 Services
Analyst Day
(Scanlon)
27 1111 148, 194 Mar. Xerox “One of our competitive advantages that l wanted to
/ Ex. 19 7, Healthcare spend a couple of minutes on is our health enterprise
at 16-17 2013 Services platform. This is a claims transaction engine that’s
Analyst Day designed specifically for Medicaid. We’ve invested in
(Scanlon) this We’ve invested in the technology. lt’s a ground
up, it’s a service oriented architected platform, and the
reason why that’s important is because it allows us to
provide the states with a platform. lf they want a plug
and play with different capabilities that they have,
they’re allowed to do that.”
28 11 198 / Apr. Conference “State government we are seeing some good news
Ex. 21 at 8 23, Call (Burns) particularly in healthcare We have a strong position as
2013 you know in MMIS around the United States, and
California is our big contract; New Hampshire just went
live We’re doing well there . . . .
So healthcare is a big segment for us. We do well
there.”

29 11 198 / Apr. Conference “And our profitability is improving in th[e healthcare]
Ex. 21 23, Call (Burns) segment actually very, very well. So l’m bullish about
at 8-9 2013 healthcare, government healthcare services What we

are seeing though is that any new decision, any
decision in the government takes a little bit longer, a lot
more discussions a lot more engagement, a lot rnore
senior level engagement with state officials and by us.”

30 11 199 / Apr. Conference Call “You will - you could see strength in cash based on

Ex. 21 at 19 23, (Burns) how effectively we bring those contracts and all other
2013 contract[s] that we have to maturity. So you could have

 

 

 

 

some benefit in cash. l don’t think that you’ll see a
negative in revenue Mega deals have -the mega deals
that we’ve signed have a cash - as they mature, they
have a cash benefit, right?”

 

 

 

 

 

 

 

 

Compl. Forum Statement
NO' / Date (+ Speaker)
Ex1.
31 11 199 / Apr. Conference “So the most famous mega deal is California, right?
Ex. 21 at 20 23, Call (Burns) And as California is maturing, thank God, and is doing
2013 fairly well, l’m not going to say very well because very
well always jinxes me of doing well so as that matures
of course cash becomes easier to get out of the mega
deal. But l don’t think revenue will be down l think
cash has some opportunity . . . .”
32 1111 156, 202 Oct. Conference “We’ve also seen increased expenses associated with
/ Ex. 27 at 4 24, Call (Mikells) the roll out of our new Medicaid platform and
2013 healthcare exchange operation We’re very pleased with
the successful implementations of these platforms with
Alaska’s Medicaid Management lnformation System . .
. launched successfully this past quarter.”
33 11 202 / Oct. Conference “As with many large new programs there is an initial
Ex. 27 at 4 24, Call period of higher cost during roll out, including non-
2013 (l\/likells) cash amortization of the platforms We continue to be
excited about these long-term healthcare related
opportunities and expect to gain scale and experience
efficiencies over time.”
34 1111 156, 203 Oct. Conference “Yeah so within BPO [Business Process Outsourcing],
/ Ex. 27 at 8 24, Call (Mikells) healthcare is our fastest growing area and we’re clearly
2013 benefiting from our number one position in MMIS, so

 

 

 

 

on the Medicare side we’re very strong We were
incredibly pleased that we’ve been actually standing up
the new MMIS systems successfully. l think if you
look in the newspapers recently if there’s one thing
that’s clear standing up these systems is not particularly
easy. And so while it’s certainly come with a little bit
higher cost that’s pressuring margin, we continue to
look at our overall position in healthcare and feel very
good about the fact that we’re participating across a
number of different sectors.”

 

vi

 

 

 

 

 

 

 

 

Compl. Forum Statement
No' / Date (+ Speaker)
Ex1.
35 11 203 / Oct. Conference “So we continue to look at the changes that are
Ex. 27 at 8 24, Call (Mikells) occurring in healthcare generally in part driven by the
2013 Affordable Care Act and view it as just a really great
opportunity.”
36 11 203 / Oct. Conference Call “And the really nice thing about platforms is while -
Ex. 27 at 8 24, (l\/likells) when you’re putting a new one in place you clearly go
2013 through some of the pain of standing it up for the first
time This becomes a pretty replicable process for us
and so we certainly think over time we’re going to get
scale and experience gains in that area.”
37 11 204 / Oct. Conference “We’ve also seen increased expenses associated with
Ex. 27 24, Call (l\/likells) the roll out of our new Medicaid platform and
at 4-5 2013 healthcare exchange operation . . .
[W]e’re in a transition period where we’re pressured by
line of business mix and investments At our
November lnvestor Conference, we’ll walk through in
detail the Services business dynamics and actions that
we’re taking to drive sustainable margin improvement.”
38 11204 / Oct. Conference “[Ml\/llS systems] are not easy to stand up and so we’re
Ex. 27 at 12 24, Call (Mikells) making more investments there . . . [A]s l look at all
2013 of those things and l look forward into 2014 and
beyond l view them as transitionary and temporary
factors”
39 1111 165, 205 Oct. Conference “We’ve had a little more pressure on margin as we have
/ Ex. 27 24, Call (Mikells) stood up some of these new platforms That’s not
at 17 2013 unusual, but these things are now going to become for

 

 

 

 

us repeatable processes right? We will get better
because of experience and we’ll get better because of

scale

So as l look forward into 2014, l think we’ve got great
opportunities in the healthcare sector.”

 

vii

 

 

 

 

 

 

 

 

 

 

Compl. Forum Statement
No. / Date (+ Speaker)
Ex1.
40 11 206 / Oct. Conference “lt’s hard to do. It’s hard to stand [l\/IMIS systems] up.
Ex. 27 at 14 24, Call (Burns) l’m very pleased that we’ve actually been able to stand
2013 up exchanges and MMIS system actually operating,
taking customers’ calls et cetera. lt costs a little bit
more than we thought[ i]t would cost and that’s one of
the pressures that we saw in third [quarter] and we’ll
see a little bit in fourth but we have done it now.”
41 11 206 / Oct. Conference “And so the bulk of the investment won’t have to
Ex. 27 at 14 24, Call (Burns) change We have to modify for every engagement a
2013 little bit of the system but not as big a modification as
before and that’s one of the things that we are
learning”
42 11 206 / Oct. Conference “l think other people are learning it as well. So l’m
Ex. 27 at 14 24, Call (Burns) actually pleased with healthcare lt’s a big piece of our
2013 business and l think we have some proof points that’ll
show it will be good on a go-forward basis as well.”
43 11 207 / Oct. Conference “All of the numbers look good from a go-forward basis
Ex. 27 at 18 24, Call from a revenue perspective in Services across all of the
2013 (Burns) businesses”

 

 

viii

 

 

 

 

 

 

 

 

Compl. Forum Statement
N0. / Date (+ Speaker)
Ex1.
44 11212 / Dec. Credit Suisse “[W]e pointed out this both at our lnvestor Conference
Ex. 30 at 6 3, Conference and on our third quarter conference call, standing up
2013 (Mikells) new platforms is tough, right? l don’t think Xerox is
the only folks who have experience lt was a little
tougher than we initially anticipated We had to spend
a little bit more money getting new platforms stood up .
. . . We have other platforms in the health care space
specifically, our new Medicaid Management
lnformation platform that we’re deploying at certain
states So we’ve deployed in New Hampshire We’ve
deployed in Alaska. We’ve got 3 others underway.
We’re bidding on a number of others And whenever
you stand up a big new platform, it’s relatively
expensive the first time you stand it up.
You then build scale you build experience you get
more efficient, more cost effective at it each time you
stand it up. So l think, for us, the good news is we’ve
had to stand up several new platforms in 2013. l’d
expect that we will get more efficient as we now stand
them for up for the third and the fourth time into 2014.”
45 11213 / J an Conference “[G]overnment healthcare is an area that we’re not -
Ex. 31 at 15 24, Call (Burns) we’re making progress We’re really focused, as l said,
2014 in responding to the first question on making sure that
we get this right and we do not, like l said, put any
additional risk or pressure on any state But as we do that,
we are stabilizing more and more.”
46 11213 / J an Conference “And so throughout 2014, this significant investment
Ex. 31 at 15 24, Call (Burns) that we’re making - that we made in 2013 and in the
2014 tail-end of 2012, should start to pay off with more
accretive performance - accretive results to the
company.”
47 11 151 / Mar. Unalleged “And so last year, we implemented our new Ml\/llS
Ex. 52 at 3 11, (Mikells) platform, which we call Health Enterprise in both
2014 Alaska and New Hampshire”
48 11 217 / Apr. Conference “[W]e came up short in Services margins which l know
Ex. 34 at 4 22, Call (Burns) is an area of keen focus for investors and l can assure
2014 everyone an area of intense focus internally.”

 

 

 

 

 

ix

 

 

No.

Compl.
/
Ex1.

Date

Forum
(+ Speaker)

Statement

 

49

1218/
Ex. 34 at6

Apr.
22,
2014

Conference
Call (I\/likells)

“We’re enhancing our program management under a
single point of accountability that also serves to enable
quicker learnings across different implementations of
the same platfonn. We know it’s going to take us
longer and will cost us more to get these
implementations right, and we’re committed to do that
in support of both our current and future customers”

 

50

1111157, 167,
219-20/
Ex. 34
at 10-11

Apr.
22,
2014

Conference
Call (Burns)

“We’ve been engaged in [Califomia] for many years
and California is going fairly well, and MMIS is
actually going pretty well and we’re now at the point
where we’re starting to lean out our implementation on
California and drive it to increased profitability. . . .

[O]n MMlS it is literally just about continuing on the
improvement path that we’re on, which is very good
already and driving towards profitability. So [MMIS
is] a good market, a growing market, and one that l
don’t think that we can actually step away from. l
know that we can’t step away from because we have a
history of success in this business”

 

51

11 225 /
Ex. 34
at 5-6

Apr.
22,
2014

Not alleged

“The work involved with implementing these new
platforms is significant and we faced greater challenges
than anticipated getting new clients to a good level of
operating performance and then costing down the
ongoing maintenance of the program. While we’re
making progress on improving our operational
performance it’s costing more than we expected And
it’s going to take us more time before we can lean out
the resources supporting these proj ects”

 

 

52

 

1227/
Ex. 37 ar 15

 

July
25,
2014

 

Conference
Call (Burns)

 

“l don’t think that we are not focused more - or focused
a lot on the commercial side, we are But we also ~ the
government healthcare market is a very attractive
market We went through one cycle when this market
started many, many years ago, that showed that we
could invest in the new platform, stand that platform up,
and have it last for many, many years and continue to
drive growth on the top line and profitability on the
bottom line That remains our expectation.”

 

 

 

 

 

 

 

 

 

Compl. Forum Statement
No° / Date (+ Speaker)
Ex1.
53 1111 169, 227 July Conference “And if you look at some of the contracts that are more
/ Ex. 37 25, Call (Burns) mature moving towards more maturity, California for
at 15 2014 example we have been able to literally move that
contract from investment phase to flat profitability,
now to looking for growing profitability in a very
predictable kind of a standard way. lt took a little bit
longer, but on a go-forward basis California is going to
be beautiful and we expect as we implement New York
to be beautiful as well.”
54 11 230 / July Not alleged “[W]e continue to incur higher costs associated with
Ex. 37 at 5 25, launching our new Medicaid platform and getting it to
2014 operational maturity.”
55 11 228 / Sept. Citi Conference “[O]bviously, we are going to leverage what we’ve
Ex. 40 at 8 2, (Zapfel) learned in some of our startup difficulties elsewhere
2014 So that’s a big thing, obviously, if we look ahead to
New York. But l think on our existing contracts we’ve
got a good path to work through kind of the final
touches on some of the implementations and then get to
a steady state model that then we can live with.”
56 11 233 / Oct. Conference “Within government healthcare we are making good
Ex. 41 at 4 22, Call (l\/likells) progress but expense levels are still high as we continue
2014 to invest to improve the performance of the first
platform implementation of our new Medicaid
platform. These impacts were more contained in the
third quarter but are still a headwind year-over-year.”
57 11 234 / Oct. Conference “[The Medicaid costs] have been a big headwind for us.
Ex. 41 at 16 22, Call (Burns) A major portion of the shortage that we see in margins
2014 is driven by the Medicaid investments but we are

 

 

 

 

seeing sequential improvement in those investments
even though they are high.”

 

xi

 

 

No.

Compl.
/
Ex1.

Date

Forum
(+ Speaker)

Statement

 

58

1234/
Ex.413116

Oct.
22,
2014

Conference Call
(Burns)

“The investments have been incredibly large l will just
point to the impairment that we took last quarter which
was $20 million lf we look at this year over year, it
has been a big headwind for us every single quarter. l
mean in total, we are probably approaching a $100
million number year-over-year. lt has been a huge
investment for us and it has been a big expense year-
over-year.

Now as we look forward right to 2015, the fact that we
have invested so much in 2014 should help us in 2015
which doesn’t at all suggest that we are not going to
need to continue some level of higher investment as we
have a few more implementations that are still
underway. But from a year-over-year basis this should
start to become a tailwind for us.”

 

59

11237/
Ex. 43 atll

Nov.
11,
2014

Xerox Annual

Conference
(Zapfel)

“Now, our big focus is driving substantial improvement
in our operating margins and a big component of that is
our government healthcare business l’ll talk about that
at some length today. But we’ve made progress both
operationally in terms of solidifying the enterprise
MMIS platform and financially in our third quarter
results in GHS [Government Healthcare Solutions]
showed an uptick even without kind of normalizing for
the second quarter impairment that many of you are
familiar with.”

 

60

 

1111 158, 238
/Ex. 44
at 12

 

Nov.
11,
2014

 

Xerox Annual
Conference
(Zapfel)

 

“Defendant Zapfel’s presentation included a slide on
the status of the Company’s Health Enterprise
implementations which represented that such
implementations were ‘performing well,’ with respect
to New Hampshire and Alaska, and ‘ progressing well
overall,’ with respect to California.”

 

 

xii

 

 

 

 

Compl. Forum Statement
NO° / Date (+ Speaker)
Ex1.
61 11 239 / Nov. Xerox Annual “So health enterprise in the new -the new Medicaid
Ex. 43 at 18 11, Conference management platform is really a big, big investment for
2014 (Zapfel) Xerox. And we’ve been - we’ve been at this and

 

 

 

 

building it up over time

What l wanted to - and so we have spent time on the
earnings calls this year on, you know, we’re not quite
making our targets and this has been - this has been an
area where we’ve made incremental investments
because we want to make sure that we - you know,
we’ve delivered to the key clients that we support and
again, long term, this has been a very, Very good
historic franchise for us and we believe it will be one in
the future

Now, in my view, we’re making visible progress here
From a platform development, making the delivery
milestones, code quality standpoint, we’ve made major
investments this year, We’re starting to see good
progress . . .

So, you know, pretty good - you know, pretty good
success story with our - you know, with our first client
[New Hampshire]. After some burning issues that we -
you know, that we faced in Alaska, our operating
performance today is solid.

California has had released one implemented in the
past 30 days We just check pointed with them, l guess
end of last week, and, you know, a very, very, very
positive start. Both ~ you know, we’re working closely
with both North Dakota and Montana as they get ready
for, you know, implementations in 2015 and beyond.”

 

xiii

 

 

No.

Compl.
/
Ex1.

Date

Forum
(+ Speaker)

Statement

 

62

1240/
Ex. 43 at 32

Nov.
11,
2014

Xerox Annual
Conference
(Zapfel)

“[T]he thing l would share would be we have had erosion
as we’ve been pretty visible about this year in terms of
our GHS profitability as we’ve been investing in the
enterprise platform and in a handful of states where we
had things that we just had to get over in 2014.

The 25 to 50 basis points would recover back, l mean, if
you just choose kind of a midpoints all around to 40 for
the midpoint for math simplicity would basically get
back half of the deterioration that we’ve experienced
this year.

A reasonable portion of that is not having another big
impairment charge which we had associated with
Nevada and Which is kind of completely behind us So
in the rest it really is around and we feel like we’ve got
a good handle on this executing the handful of states
that l showed on the map that you looked at. So each
one of these things every day, you’re working with the
state None of them are perfectly predictable for the
next 13.5 months but we think that we’ve got a good
line of sight and a good set of plans to get back at least
half of that margin deterioration that we had in 2014,
and that puts the business overall at kind of plus or
minus C- levelish.”

 

63

1241/
Ex. 43 at35

Nov.
11,
2014

Xerox
Annual
Conference
(Zapfel)

“l would say from a risk standpoint, in any Services
business there is always the risk that there are some
client situation that seems like everything is going
great, and all of a sudden you’re like - holly molly
[sic], l got a big problem here so we don’t anticipate
that.”

 

 

64

 

11 243 /
Ex. 45 at 3

 

Jan.
30,
2015

 

Conference
Call (Burns)

 

“We’ve made progress improving our government
healthcare business and in 2014, we committed
resources to maturing our MMIS enterprise platform,
While we still have work to do, the hard work of the
team is paying off. We remain bullish about this
market and its opportunities for us.”

 

xiv

 

 

 

 

 

 

 

Compl. Forum Statement
No. / Date (+ Speaker)
Ex1.
65 11 244 / J an Conference “Our results in government healthcare were in line with
Ex. 45 at 6 30, Call (Mikells) our expectations and we’re seeing positive results from
2015 our investments to mature the platform and improve our
operational performance We’re confident we’re on the
right track and we started some work ahead of
finalizing the New York Medicaid contract to ensure we
get off to the right start there.”
66 11 245 / J an Conference “Relative to the problem contract question, l would say
Ex. 45 at 19 30, Call (Zapfel) we’ve made real progress in terms of the new systems
2015 implementations We’ve got a strong team that we’ve
added in 2014 that’s really been driving that. So you
can never say never in terms of an issue in a given
implementation But overall, we’ve made very good
progress there and we’re optimistic that we won’t have
big financial hits as a result of future problem
contracts”
67 11 248 / Apr. Conference “[W]e failed to accurately call the incremental financial
Ex. 48 at 4 24, Call (l\/likells) pressure we’re experiencing in our Government
2015 Healthcare business from the rollout of our Health
Enterprise Medicaid platform, Our delivery quality and
operating performance continue to improve but the
financials were a clear signal that we have more work
ahead.”
68 11 249 / Apr. Conference “[P]art of the reason earlier l talked about the fact that
Ex. 48 at 13 24, Call (l\/likells) this area gets less risky for us as we complete more and
2015 more of these implementations with the states where we

 

 

 

 

signed contracts three plus years ago. Once we get
beyond the implementation right, then the economics
move to, l’ll call it, the regular Medicaid transaction
processing Right? And in addition to that, we
typically, and even in the couple of clients that we’ve
already cut over with the new platform, we typically
have the opportunity to then do add-on things and get
additional revenue from those clients which we have
been successfully doing and will continue to do.”

 

XV

 

 

 

 

 

Compl. Forum Statement
N°’ / Date (+ speaker)
Ex1.
69 11 250 / Apr. Conference “Operationally, the platform is performing well in the
Ex. 48 at 5 24, Call (Mikells) states where it’s been rolled out and we’re progressing
2015 on the implementations in other states However, we
have more work ahead to turnaround the financial
performance We’re taking a number of additional
actions to improve the picture and have adjusted our
expectations to reflect what we believe is required to
meet our customer commitment This is the main
driver of our revised Services margin guidance . . . .”
70 11 251 / Apr. Conference “[W]e’re pretty close to the finish line on that one And
Ex. 48 at 17 24, Call (Mikells) the closer you get to the finish line basically, the less
2015 risk you have We talked about California and we

 

 

 

 

made a big adjustment for California. Last year, we
actually made an adjustment for the one other state that
hasn’t been cut over yet, so we had sort of resized what
we thought our cost expectations were going to be So
l would characterize as we’ve already taken a hit on
California, we’ve adjusted the other state that hasn’t yet
been implemented and we’re close on the one that
we’re going to cut over this year.”

 

xvi

 

